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Counsel to the Debtors and
Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                    )
    In re:                                                          )      Chapter 11
                                                                    )
    CELSIUS NETWORK LLC, et al.,1                                   )      Case No. 22-10964 (MG)
                                                                    )
                                       Debtors.                     )      (Jointly Administered)
                                                                    )

                         GLOBAL NOTES AND STATEMENT OF
                   LIMITATIONS, METHODOLOGY AND DISCLAIMERS
                  REGARDING THE DEBTORS’ SCHEDULES OF ASSETS
               AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

       Celsius Network LLC and certain of its affiliates, as debtors and debtors in possession in
the above-captioned chapter 11 cases (the “Debtors”), have filed these respective Schedules of
Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the “Statements”) in
the United States Bankruptcy Court for the Southern District of New York (the “Court”). The
Debtors, with the assistance of their legal and financial advisors, prepared the Schedules and
Statements in accordance with section 521 of title 11 of the United States Code (the “Bankruptcy
Code”), rule 1007 of the Federal Rules of Bankruptcy Procedure, and rule 1007–1 of the
Bankruptcy Local Rules for the Southern District of New York.

       Mr. Chris Ferraro, Acting Chief Executive Officer, Chief Restructuring Officer, and Chief
Financial Officer of the Debtors, has signed each set of the Schedules and Statements. Mr. Ferraro


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining IL Ltd. (7106); Celsius Mining LLC (1387); Celsius Network IL Ltd. (7294); Celsius Network Inc. (1219);
      Celsius Network Limited (0143); Celsius Networks Lending LLC (8417); and Celsius US Holding LLC
      (7956). The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’ service
      address in these chapter 11 cases is 121 River Street, PH05, Hoboken, New Jersey 07030.
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is an authorized signatory for each of the Debtors. In reviewing and signing the Schedules and
Statements, Mr. Ferraro has necessarily relied upon the efforts, statements, advice, and
representations of personnel of the Debtors and the Debtors’ legal and financial advisors. Mr.
Ferraro has not (and could not have) personally verified the accuracy of each such statement and
representation contained in the Schedules and Statements, including statements and
representations concerning amounts owed to creditors, classification of such amounts, and
respective creditor contact information.

        In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made commercially reasonable efforts to ensure the accuracy and completeness of
the Schedules and Statements, subsequent information or discovery may result in material changes
to the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
avoidance of doubt, the Debtors hereby reserve all of their rights, including to amend and/or
supplement the Schedules and Statements, as may be necessary or appropriate.

        The Debtors and their agents, attorneys, and financial advisors do not guarantee or warrant
the accuracy or completeness of the data that is provided herein and will not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors or
omissions may exist. The Debtors and their agents, attorneys, and financial advisors expressly do
not undertake any obligation to update, modify, revise, or re-categorize the information provided
herein or to notify any third party should the information be updated, modified, revised, or
re-categorized, except as required by applicable law. In no event will the Debtors or their agents,
attorneys, and/or financial advisors be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their agents, attorneys, and financial advisors are advised of the possibility of such damages.

      Disclosure of information in one or more Schedules, one or more Statements, or one or
more exhibits or attachments to the Schedules or Statements, even if incorrectly placed, shall be
deemed to be disclosed in the correct Schedules, Statements, exhibits, or attachments.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimer
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(the “Global Notes”) pertain to, are incorporated by reference in, and comprise an integral part of,
each Debtor’s respective Schedules and Statements. The Global Notes should be referred to and
considered in connection with any review of the Schedules and Statements.2 In the event that the
Schedules and/or Statements differ from these Global Notes, the Global Notes control.



2    These Global Notes supplement and are in addition to any specific notes contained in each Debtor’s Schedules or
     Statements. The fact that the Debtors have prepared a Global Note with respect to any of individual Debtor’s
     Schedules and Statements and not to those of another should not be interpreted as a decision by the Debtors to


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                                Global Notes and Overview of Methodology

1.        Description of Cases. On July 13, 2022 (the “Petition Date”), the Debtors filed voluntary
          petitions for relief under chapter 11 of the Bankruptcy Code.3 The Debtors’ chapter 11
          cases are being jointly administered for procedural purposes only under lead case
          In re Celsius Network LLC, Case No. 22-10964 (MG) (Bankr. S.D.N.Y.). The Debtors are
          operating their business and managing their property as debtors in possession pursuant to
          sections 1107(a) and 1108 of the Bankruptcy Code. On July 27, 2022, the United States
          Trustee for the Southern District of New York (the “U.S. Trustee”) appointed an official
          committee of unsecured creditors [Docket No. 241] (the “Committee”). Additional
          information regarding the Committee and its legal and financial advisors can be obtained
          at https://cases.ra.kroll.com/CelsiusCommittee/. The information provided herein, except
          as otherwise noted, is reported as of the close of business on the Petition Date. As detailed
          more fully in Schedule AB for Celsius Mining LLC, certain asset information is listed as
          of June 30, 2022.

2.        Reporting of Cryptocurrencies. Due to their voluminous nature and for ease of review,
          the full Schedules of cryptocurrency-related items are generally reported at Celsius
          Network LLC, with cover pages cross-referencing the Schedules of Celsius Network LLC,
          as applicable. The applicable terms of use governing the business relationship between the
          Debtors and their account holders are between each account holder, on the one hand, and
          Celsius Network LLC and its “Affiliates,” on the other hand (as defined in the terms of
          use). This may mean that account holders have claims against every Debtor and
          non-Debtor entity in the Debtors’ corporate structure. The Debtors understand that certain
          parties in interest, including certain holders of the Series B Preferred Shares issued by
          Celsius Network Limited, intend to argue that account holders have claims solely against
          Celsius Network LLC. The Debtors expect that this legal issue will be resolved by the
          Court in the near term, either through a to-be-commenced adversary proceeding, a claims
          objection, or other litigation (the “Account Holder Claim Ruling”).

          Pursuant to Bankruptcy Rule 3003(c)(2), if a claim is scheduled as contingent,
          unliquidated, or disputed, a creditor must file a proof of claim in order to preserve rights
          with respect to such claim. The Debtors have scheduled account holder claims at each
          Debtor entity and have not scheduled any of such claims as contingent, unliquidated, or
          disputed. The Debtors believe that scheduling any such claims as contingent, unliquidated,
          or disputed would inequitably require each account holder to file a proof of claim against
          each Debtor Entity in order to preserve the rights to the issues to be decided through the
          Account Holder Claim Ruling. For the avoidance of doubt, it is not the intent of the
          Debtors to create any presumption that account holders have claims against each Debtor
          entity, as that issue is disputed by certain holders of the Series B Preferred Shares issued
          by Celsius Network Limited, and no creditor or other party should rely on the fact that the

     exclude the applicability of such Global Note to any of the Debtors’ other Schedules and Statements, as
     appropriate.
3    Copies of publicly filed documents in these chapter 11 cases are available at http://cases.stretto.com/Celsius (free
     of charge) or the Court’s website at https://www.nysb.uscourts.gov/ecf-and-pacer-information (for a fee).



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          account holder claims are scheduled at each Debtor entity as dispositive as to this legal
          issue, which will be decided in the Account Holder Claim Ruling. To the extent the Court
          enters a final and non-appealable order with respect to the Account Holder Claim Ruling,
          the Debtors intend to amend the Schedules to the extent required by such ruling. For the
          avoidance of doubt, nothing contained herein is intended as, or should be construed as, an
          admission or stipulation of the validity of any claim against any Debtor, any assertion made
          therein or herein, or a waiver of any Debtor’s rights to dispute any claim or assert any cause
          of action or defense against any party.

3.        Reservation of Rights. Reasonable efforts have been made to prepare and file complete
          and accurate Schedules and Statements; however, as noted above, inadvertent errors or
          omissions may exist. The Debtors reserve all rights to: (i) amend and/or supplement the
          Schedules and Statements from time to time, in all respects, as may be necessary or
          appropriate, including the right to amend the Schedules and Statements with respect to the
          description, designation, or Debtor against which any claim (“Claim”)4 is asserted; (ii)
          dispute or otherwise assert offsets, setoffs, or other defenses to any Claim reflected in the
          Schedules and Statements as to amount, liability, priority, status, or classification;
          (iii) subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated”; or
          (iv) object to the extent, validity, enforceability, priority, or avoidability of any Claim
          (regardless of whether of such Claim is designated in the Schedules and Statements as
          “disputed,” “contingent,” or “unliquidated”). Any failure to designate a Claim in the
          Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
          constitute an admission by the Debtors that such Claim or amount is not “disputed,”
          “contingent,” or “unliquidated” or a waiver of any right to later object to any claim on any
          grounds. Listing a Claim does not constitute an admission of (a) liability or (b) amounts
          due or owed, if any, in each case, by the Debtor against which the Claim is listed or against
          any of the Debtors. Furthermore, nothing contained in the Schedules and Statements shall
          constitute a waiver of rights with respect to the Debtors’ chapter 11 cases, including,
          without limitation, issues involving or defenses against Claims, substantive consolidation,
          defenses, statutory, or equitable subordination, and/or causes of action arising under the
          provisions of chapter 5 of the Bankruptcy Code and any other relevant non-bankruptcy
          laws to recover assets or avoid transfers. Any specific reservation or rights contained
          elsewhere in the Global Notes does not limit in any respect the general reservation of rights
          contained in this paragraph. Notwithstanding the foregoing, the Debtors shall not be
          required to update the Schedules and Statements.

          (a)      No Admission. Nothing contained in the Schedules and Statements is intended as,
                   or should be construed as, an admission or stipulation of the validity of any Claim
                   against any Debtor, any assertion made therein or herein, or a waiver of any
                   Debtor’s rights to dispute any Claim or assert any cause of action or defense against
                   any party.




4    For the purposes of these Global Notes, the term Claim shall have the meaning as defined under section 101(5) of
     the Bankruptcy Code.



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    (b)   Recharacterization. The Debtors have made reasonable efforts to correctly
          characterize, classify, categorize, and designate the claims, assets, executory
          contracts, unexpired leases, and other items reported in the Schedules and
          Statements. Nevertheless, due to the complexity of the Debtors’ business, the
          Debtors may not have accurately characterized, classified, categorized, or
          designated certain items and/or may have omitted certain items. Accordingly, the
          Debtors reserve all of their rights to recharacterize, reclassify, recategorize, or
          redesignate items reported in the Schedules and Statements at a later time as
          necessary or appropriate, including, without limitation, whether contracts or leases
          listed herein were deemed executory or unexpired as of the Petition Date and
          remain executory and unexpired postpetition.

    (c)   Classifications. Listing (i) a Claim on Schedule D as “secured,” (ii) a Claim on
          Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
          “executory” or “unexpired” does not constitute an admission by the Debtors of the
          legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
          rights to object to such claim, recharacterize or reclassify such Claim or contract or
          to setoff such Claims.

    (d)   Estimates and Assumptions. The preparation of the Schedules and Statements
          required the Debtors to make commercially reasonable estimates and assumptions
          with respect to the reported amounts of assets and liabilities on the date of the
          Schedules and Statements, and the reported amounts of revenues and expenses
          during the applicable reporting periods. Actual results could differ from such
          estimates.

    (e)   Causes of Action. Despite reasonable efforts, the Debtors may not have identified
          and/or set forth all of their causes of action (filed or potential) against third parties
          as assets in their Schedules and Statements, including, without limitation,
          avoidance actions arising under chapter 5 of the Bankruptcy Code and actions under
          other relevant bankruptcy and non-bankruptcy laws to recover assets. The Debtors
          reserve all rights with respect to any causes of action (including avoidance actions),
          controversy, right of setoff, cross claim, counterclaim, or recoupment and any
          Claim on contracts or for breaches of duties imposed by law or in equity, demand,
          right, action, lien, indemnity, guaranty, suit, obligation, liability, damage,
          judgment, account, defense, power, privilege, license, and franchise of any kind or
          character whatsoever, known, unknown, fixed or contingent, matured or
          unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or
          undisputed, secured or unsecured, assertable directly or derivatively, whether
          arising before, on, or after the Petition Date, in contract or in tort, in law or in equity,
          or pursuant to any other theory of law they may have (collectively, “Causes of
          Action”), and neither the Global Notes nor the Schedules and Statements shall be
          deemed a waiver of any such Claims, Causes of Action, or avoidance actions or in
          any way prejudice or impair the assertion of such Claims or Causes of Action.

    (f)   Intellectual Property Rights. Exclusion of certain intellectual property shall not
          be construed to be an admission that such intellectual property rights have been


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                   abandoned, have been terminated, or otherwise have expired by their terms, or have
                   been assigned or otherwise transferred pursuant to a sale, acquisition, or other
                   transaction. Conversely, inclusion of certain intellectual property shall not be
                   construed to be an admission that such intellectual property rights have not been
                   abandoned, have not been terminated, or otherwise have not expired by their terms,
                   or have not been assigned or otherwise transferred pursuant to a sale, acquisition,
                   or other transaction.

          (g)      Cryptocurrency. Certain of the Debtors’ assets are cryptocurrencies, or digital
                   tokens, based on a publicly accessible blockchain. Cryptocurrencies are unique
                   assets. Certain laws and regulations that may be applicable to cryptocurrencies do
                   not contemplate or address unique issues associated with the cryptocurrency
                   economy, are subject to significant uncertainty, and vary widely across U.S.
                   federal, state, and local and international jurisdictions. The Debtors make no
                   representations or admissions concerning the status of cryptocurrency as a
                   “security” under any state, federal, or local domestic or international statute,
                   including United States federal securities laws, and reserve all rights to amend
                   and/or supplement the Schedules and Statements as they deem appropriate in this
                   regard. Furthermore, the Debtors have taken the position that, consistent with the
                   applicable terms of use between the Debtors and their account holders, certain
                   cryptocurrency held on the Debtors’ platform, such as those coins held in “earn”
                   accounts, is property of the Debtors’ estate pursuant to section 541 of the
                   Bankruptcy Code. Conversely, the Debtors have taken the position that, consistent
                   with the applicable terms of use, certain other cryptocurrency held on the Debtors’
                   platform, such as those coins held in “custody” or “withhold” accounts, is not
                   property of the Debtors’ estate pursuant to section 541 of the Bankruptcy Code.5
                   The Debtors reserve all rights with respect to these designations and to amend
                   and/or supplement the Schedules and Statements as they deem appropriate in this
                   regard.

          (h)      Insiders. The Debtors have attempted to include all payments made on or within
                   12 months before the Petition Date to any individual or entity deemed an “insider”
                   (and their relatives). As to each Debtor, an individual or entity is designated as an
                   insider for the purposes of the Schedules and Statements if such individual or entity,
                   based on the totality of the circumstances, has at least a controlling interest in, or
                   exercises sufficient authority over, the Debtor such that they dictate corporate
                   policy and/or the disposition of corporate assets. Where an individual or entity was
                   a “close call” with respect to being included in the Schedules and Statements as an
                   insider, the Debtors have opted for increased disclosure and resolved such “close
                   calls” in favor of treating such individuals or entities as insiders for purposes of the
                   Schedules and Statements. Certain of the individuals or entities identified as
                   insiders may not have been insiders for the entirety of the 12-month period before



5    There may be other legal theories as to whether such cryptocurrency assets may be property of the Debtors’ estates.
     The Debtors reserve all such rights.



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           the Petition Date, but the Debtors have included them herein out of an abundance
           of caution.

           The listing or omission of a party as an insider for purposes of the Schedules and
           Statements is for informational purposes and is not intended to be, nor should it be,
           construed as an admission that those parties are insiders for purpose of
           section 101(31) of the Bankruptcy Code. Information regarding the individuals or
           entities listed as insiders in the Schedules and Statements may not be used for:
           (a) the purposes of determining (i) control of the Debtors; (ii) the extent to which
           any individual or entity exercised management responsibilities or functions;
           (iii) corporate decision-making authority over the Debtors; or (iv) whether such
           individual or entity could successfully argue that it is not an insider under applicable
           law, including the Bankruptcy Code and federal securities laws, or with respect to
           any theories of liability or (b) any other purpose. Furthermore, the listing or
           omission of a party as an insider for purposes of the Schedules and Statements is
           not intended to be, nor should it be, construed an admission of any fact, right, claim,
           or defense, and all such rights, claims, and defenses are hereby expressly reserved.

4.   Methodology.

     (a)   Basis of Presentation. Information contained in the Schedules and Statements has
           been derived from the Debtors’ books and records and historical financial
           statements. The Schedules and Statements have not, however, been subject to
           procedures that would typically be applied to financial statements prepared in
           accordance with Generally Accepted Accounting Principles in the United States
           (“GAAP”) or International Financial Reporting Standards (“IFRS”) and are not
           intended to reconcile fully with any financial statements of each Debtor prepared
           under GAAP or IFRS. Therefore, combining the assets and liabilities set forth in
           the Schedules and Statements would result in amounts that are substantially
           different from financial information that would be prepared on a consolidated basis
           under GAAP or IFRS. For financial reporting purposes, prior to the Petition Date,
           the Debtors prepared financial statements on a consolidated basis. Unlike the
           consolidated financial statements, the Schedules and Statements, except where
           otherwise indicated, reflect the assets and liabilities of each separate Debtor.
           Moreover, given, among other things, the uncertainty surrounding the valuation,
           collection, and ownership of certain assets and the valuation and nature of certain
           liabilities, to the extent that a Debtor shows more assets than liabilities, it is not an
           admission that the Debtor was solvent as of the Petition Date or at any time before
           the Petition Date. Likewise, to the extent a Debtor shows more liabilities than
           assets, it is not an admission that the Debtor was insolvent at the Petition Date or
           any time before the Petition Date. For the avoidance of doubt, nothing contained
           in the Schedules and Statements is indicative of the Debtors’ enterprise value. The
           Schedules and Statements contain unaudited information that is subject to further
           review and potential adjustment.

     (b)   Confidential or Sensitive Information. There may be instances in which certain
           information in the Schedules and Statements intentionally has been redacted due


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          to, among other things, the nature of an agreement between a Debtor and a third
          party, local restrictions on disclosure, concerns about the confidential nature of
          certain information, or concerns for the privacy of an individual (including minors).
          The alterations will be limited to only what is necessary to protect the Debtor or
          applicable third party. The Debtors may also be authorized or required to redact
          certain information from the public record pursuant to orders of the Court sealing
          or otherwise protecting such information from public disclosure, including the
          Memorandum Opinion and Order on the Debtors’ Sealing Motion [Docket
          No. 910]. All such redacted information shall be made available as directed by
          orders of the Court or to the individual account holder or creditor scheduled, as
          applicable.

    (c)   Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
          may properly be disclosed in response to multiple parts of the Schedules and
          Statements. Except as otherwise discussed below, to the extent these disclosures
          would be duplicative, the Debtors have determined to only list such assets,
          liabilities, and prepetition payments once.

    (d)   Net Book Value. In certain instances, current market valuations for certain assets
          are neither maintained by, nor readily available to, the Debtors. Accordingly,
          unless otherwise indicated, the Debtors’ Schedules and Statements reflect net book
          values. Market values may vary, sometimes materially, from net book values. The
          Debtors believe that it would be an inefficient use of estate assets for the Debtors
          to obtain the current market values of their property. Accordingly, the Debtors have
          indicated in the Schedules and Statements that the values of certain assets and
          liabilities are undetermined or unknown.

          Certain other assets, such as investments in subsidiaries and other intangible assets,
          are listed at undetermined amounts, as the net book values may differ materially
          from fair market values. Amounts ultimately realized may vary from net book
          value (or whatever value was ascribed) and such variance may be material.
          Accordingly, the Debtors reserve all of their rights to amend or adjust the value of
          each asset set forth herein. In addition, the amounts shown for total liabilities
          exclude items identified as “unknown” or “undetermined,” and, thus, ultimate
          liabilities may differ materially from those stated in the Schedules and Statements.

          In addition, assets that have been fully depreciated or that were expensed for
          accounting purposes either do not appear in these Schedules and Statements or are
          listed with a zero-dollar value, as such assets have no net book value. The omission
          of an asset from the Schedules and Statements does not constitute a representation
          regarding the ownership of such asset, and any such omission does not constitute a
          waiver of any rights of the Debtors with respect to such asset. Given, among other
          things, the current market valuation of certain assets and the valuation and nature
          of certain liabilities, nothing in the Schedules and Statements shall be, or shall be
          deemed to be, an admission that any Debtor was solvent or insolvent as of the
          Petition Date.



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    (e)   Property. The Debtors’ office property leases are set forth on Schedule G.
          Nothing in the Schedules and Statements is or shall be construed as an admission
          as to the determination as to the legal status of any lease (including whether any
          lease is a true lease or a financing arrangement), and the Debtors reserve all of their
          rights with respect to same.

    (f)   Allocation of Liabilities. The Debtors, in consultation with their advisors, have
          sought to allocate liabilities between the prepetition and postpetition periods based
          on the information and research that was conducted in connection with the
          preparation of the Schedules and Statements. As additional information becomes
          available and further research is conducted, the allocation of liabilities between
          prepetition and postpetition periods may change. The Debtors reserve the right to
          amend and/or supplement the Schedules and Statements as they deem appropriate
          in this regard.

    (g)   Undetermined Amounts. The description of an amount as “unknown” or
          “undetermined” is not intended to reflect upon the materiality of such amount.

    (h)   Unliquidated Claim Amounts. Claim amounts that could not be readily
          quantified by the Debtors are scheduled as “unliquidated.”

    (i)   Totals. All totals that are included in the Schedules and Statements represent totals
          of all the known amounts included in the Schedules and Statements. To the extent
          there are unknown or undetermined amounts, the actual total may be different than
          the listed total.

    (j)   Valuation of Cryptocurrency. Cryptocurrency amounts are generally listed by
          coin amount rather than a conversion to price in U.S. dollars. To the extent
          cryptocurrency values are presented in U.S. dollars, they reflect the valuation as set
          forth in the Debtors’ books and records as of the Petition Date or the time of the
          relevant transaction, as applicable. Actual net realizable value may vary
          significantly. The Debtors reserve all rights in this respect with such values
          presented in the Schedules and Statements.

    (k)   Paid Claims. Pursuant to certain orders of the Court entered in the Debtors’
          chapter 11 cases entered shortly after the Petition Date (collectively, the “First Day
          Orders”) as well as other orders of the Court, the Debtors have authority to pay
          certain outstanding prepetition payables pursuant to bankruptcy or other court
          order; as such, outstanding liabilities may have been reduced by any court-approved
          postpetition payments made on prepetition payables. Where and to the extent these
          liabilities have been satisfied, they are not listed in the Schedules and Statements,
          unless otherwise indicated. Regardless of whether such claims are listed in the
          Schedules and Statements, to the extent the Debtors later pay any amount of the
          claims listed in the Schedules and Statements pursuant to any orders entered by the
          Court, the Debtors reserve all rights to amend or supplement the Schedules and
          Statements or to take other action, such as filing claims objections, as is necessary
          and appropriate to avoid overpayment or duplicate payments for liabilities.



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          Nothing contained herein should be deemed to alter the rights of any party in
          interest to contest a payment made pursuant to an order of the Court where such
          order preserves the right to contest such payment.

    (l)   Intercompany Receivables and Payables. Receivables and payables among the
          Debtors and among the Debtors and their non-Debtor affiliates are reported on
          Schedule A/B and Schedule E/F, respectively, per the Debtors’ books and records.
          Intercompany loan amounts scheduled may include accrued and unpaid interest.
          The listing of any amounts with respect to such receivables and payables is not, and
          should not be construed as, an admission or conclusion of the Debtors’ regarding
          the allowance, classification, validity, or priority of such account or
          characterization of such balances as debt, equity, or otherwise. For the avoidance
          of doubt, the Debtors reserve all rights, claims, and defenses in connection with any
          and all intercompany receivables and payables, including with respect to the
          characterization of intercompany claims, loans, and notes.

          As described more fully in the Debtors’ Motion Seeking Entry of Interim and Final
          Orders (I) Authorizing the Debtors to (A) Continue to Operate Their Cash
          Management System, (B) Honor Certain Prepetition Obligations Related Thereto,
          (C) Maintain Existing Business Forms, and (D) Continue to Perform Intercompany
          Transactions, (II) Granting Superpriority Administrative Expense Status To
          Postpetition Intercompany Balances, And (III) Granting Related Relief [Docket
          No. 21] (the “Cash Management Motion”), the Debtors engage in a range of
          intercompany transactions in the ordinary course of business. Pursuant to the third
          interim order granting certain of the relief requested in the Cash Management
          Motion on an interim basis [Docket No. 699] (the “Cash Management Order”), the
          Bankruptcy Court has granted the Debtors authority to continue these intercompany
          transactions in the ordinary course of business on an interim basis. Thus,
          intercompany balances as of the Petition Date, as set forth in Schedule E/F or
          Schedule A/B 77, may not accurately reflect current positions.

    (m)   Guarantees and Other Secondary Liability Claims. The Debtors have exercised
          reasonable efforts to locate and identify guarantees in their executory contracts,
          unexpired leases, and other such agreements. The Debtors may have inadvertently
          omitted guarantees embedded in their contractual agreements and may identify
          additional guarantees as they continue their review of their books and records and
          contractual agreements. The Debtors reserve their rights, but are not required, to
          amend the Schedules and Statements if additional guarantees are identified.

    (n)   Excluded Assets and Liabilities. The Debtors have excluded certain categories of
          assets, tax accruals, and liabilities from the Schedules and Statements, including
          without limitation, accrued salaries and employee benefit accruals. In addition and
          as set forth above, the Debtors may have excluded amounts for which the Debtors
          have paid or have been granted authority to pay pursuant to the First Day Orders or
          other order that may be entered by the Court. Additionally, certain immaterial or
          de minimis assets and liabilities may have been excluded.



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    (o)   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars or
          amount of cryptocurrency coins.

    (p)   Setoffs. The Debtors may incur certain setoffs and other similar rights during the
          ordinary course of business. Offsets in the ordinary course can result from various
          items, including, without limitation, margin call or other lending-related
          transactions, intercompany transactions, pricing discrepancies, returns, and other
          disputes between the Debtors and their account holders and/or suppliers. These
          offsets and other similar rights are consistent with the ordinary course of business
          in the Debtors’ industry and may not be tracked separately. Therefore, although
          such offsets and other similar rights may have been included in the Schedules, other
          offsets are not independently accounted for, and as such, may be excluded from the
          Schedules.

    (q)   Claims and Causes of Action. The Debtors believe that they may possess certain
          Claims and Causes of Action against various parties. Additionally, the Debtors
          may possess contingent claims in the form of various avoidance actions they could
          commence under the provisions of chapter 5 of the Bankruptcy Code and other
          relevant non-bankruptcy laws. These Schedules and Statements reflect both
          transfers of cryptocurrency from earn accounts into custody accounts as well as
          withdrawals of cryptocurrency fully off of the Debtors’ platform. As of the date
          hereof, the Debtors’ advisors and the special committee of the board of directors of
          Celsius Network Limited are continuing to analyze whether such transfers and
          withdrawals give rise to any claims or causes of action under chapter 5 of the
          Bankruptcy Code.

          The Debtors, despite reasonable efforts, may not have identified and/or set forth all
          of their Causes of Action against third parties as assets in their Schedules and
          Statements, including, without limitation, avoidance actions arising under chapter
          5 of the Bankruptcy Code and actions under other relevant bankruptcy and non-
          bankruptcy laws to recover assets. The Debtors reserve all of their rights with
          respect to any Claims, Causes of Action, or avoidance actions they may have and
          nothing contained in these Global Notes or the Schedules and Statements shall be
          deemed a waiver of any such claims, avoidance actions, or Causes of Action or in
          any way prejudice or impair the assertion of such claims. Additionally, prior to the
          Petition Date, each Debtor, as plaintiff, may have commenced various lawsuits in
          the ordinary course of its business against third parties seeking monetary damages.

    (r)   Executory Contracts. Although the Debtors made diligent efforts to attribute an
          executory contract to its rightful Debtor, in certain instances, the Debtors may have
          inadvertently failed to do so. Accordingly, the Debtors reserve all of their rights
          with respect to the named parties of any and all executory contracts, including the
          right to amend Schedule G.

    (s)   Claims of Third-Party Related Entities. While the Debtors have made every
          effort to properly classify each claim listed in the Schedules as being either disputed
          or undisputed, liquidated or unliquidated, and contingent or noncontingent, the


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            Debtors have not been able to fully reconcile all payments made to certain third
            parties and their related entities on account of the Debtors’ obligations to same.
            Therefore, to the extent that the Debtors have classified their estimate of claims of
            a creditor as disputed, all claims of such creditor’s affiliates listed in the Schedules
            and Statements shall similarly be considered as disputed, whether or not they are
            designated as such.

     (t)    Umbrella or Master Agreements. Contracts listed in the Schedules and
            Statements may be umbrella or master agreements that cover relationships with
            some or all of the Debtors. Where relevant, such agreements have been listed in
            the Schedules and Statements only of the Debtor that signed the original umbrella
            or master agreement. The master service agreements have been listed in
            Schedule G, but do not reflect any decision by the Debtor as to whether or not such
            agreements are executory in nature.

     (u)    Credits and Adjustments. The Claims of individual creditors for, among other
            things, goods, products, services, or taxes are listed as the amounts entered on the
            Debtors’ books and records and may either (i) not reflect credits, allowances, or
            other adjustments due from such creditors to the Debtors or (ii) be net of accrued
            credits, allowances, or other adjustments that are actually owed by a creditor to the
            Debtors on a postpetition basis on account of such credits, allowances, or other
            adjustments earned from prepetition payments and vendor payments, if applicable.
            The Debtors reserve all of their rights with regard to such credits, allowances, or
            other adjustments, including, but not limited to, the right to modify the Schedules,
            assert claims objections and/or setoffs with respect to the same, or apply such
            allowances in the ordinary course of business on a post-petition basis.

     (v)    Payments. The financial affairs and business of the Debtors are complex. Prior to
            the Petition Date, the Debtors maintained a cash management and disbursement
            system in the ordinary course of their businesses, as described in the Cash
            Management Motion, as defined herein. Although efforts have been made to
            attribute open payable amounts to the correct legal entity, the Debtors reserve the
            right to modify or amend their Schedules and Statements to attribute such payment
            to a different legal entity, if appropriate.

5.   Specific Schedules Disclosures.

     (a)    Schedule A/B, Question 3 – Checking, Savings, Money Market, or Financial
            Brokerage Accounts. Amounts listed are as of the Petition Date for the
            corresponding Debtor and reflect the actual bank balance, not the net book value.

     (b)    Schedule A/B, Questions 7 and 8 – Deposits and Prepayments. The Debtors are
            required to make deposits or prepayments from time to time with various vendors
            and other service providers in the ordinary course of business. The Debtors have
            exercised reasonable efforts to report the current value of any deposits or
            prepayments.     The Debtors may have inadvertently omitted deposits or
            prepayments and conversely may have reported deposits or prepayments that are



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          no longer outstanding. The Debtors reserve their rights, but are not required, to
          amend the Schedules and Statements if deposits or prepayments are incorrectly
          identified.

    (c)   Schedule A/B, Question 15 – Non-Publicly Traded Stock. Equity interests in
          subsidiaries and affiliates primarily arise from common stock ownership or member
          or partnership interests. For purposes of these Schedules, the Debtors have listed
          an undetermined value for the equity interests of all subsidiaries and affiliates.
          Nothing in these Schedules is an admission or conclusion of the Debtors regarding
          the value of such subsidiary and affiliate equity interests, which, under certain fair
          market or enterprise valuation analyses, may have value.

          Book values of assets prepared in accordance with GAAP generally do not reflect
          the current performance of the assets or the impact of the industry environment and
          may differ materially from the actual value and/or performance of the underlying
          assets. As such, the value listed in these Schedules and Statements cannot be, and
          was not, used to determine the Debtors’ enterprise valuation.

    (d)   Schedule A/B, Question 55 – Real Property. The Debtors do not own any real
          property. The Debtors’ office and other property leases are set forth on Schedule
          G.

    (e)   Schedule A/B, Question 72 – Tax Refunds and Unused Net Operating Losses
          (NOLs). The Debtors’ response to the schedule questionnaire is indicative of
          certain gross non-tax effected net operating loss (“NOL”) values as compared to
          the GAAP net deferred tax assets associated with such NOLs. The actual tax
          savings from these NOLs is dependent upon, among other things, the timing,
          character, and amount of any future or previous years’ (provided NOLs are allowed
          to be carried back) income to which they can be applied. Amounts also do not
          reflect the consideration of any valuation allowances recorded pursuant to GAAP,
          which have the effect of reducing associated deferred tax assets. Additionally, the
          NOLs listed in Schedule A/B, Question 72 reflect the amounts listed in the Debtors’
          books and records, may reflect NOLs accumulated for more than one tax year, and
          may be subject to expiration or limitations on usability now or in the future. All
          figures set forth in Schedule A/B, Question 72 are preliminary, unreviewed, and
          unaudited and are subject to final adjustments.

    (f)   Schedule A/B, Question 73 – Interests in insurance policies or annuities. The
          Debtors have included a listing of their insurance policies in response to Question
          73, however, a determination as to the surrender or refund value of each of the
          insurance policies has not been made and, therefore, the balance is listed as
          undetermined.

    (g)   Schedule A/B, Question 77 – Other property of any kind not already listed.
          Schedule A/B, Question 77 lists, among other things, the Debtors’ cryptocurrency,
          or digital tokens, assets based on a publicly accessible blockchain. The current
          value shown reflects the valuation as booked in the Debtors’ books and records as



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          of the Petition Date. All figures set forth in Schedule A/B, Question 77 are
          preliminary, unreviewed, and unaudited and are subject to final adjustments
          following, inter alia, completion of quarterly and year-end close procedures.

    (h)   Schedule D – Creditors Who Have Claims Secured by Property. Except as
          otherwise agreed pursuant to a stipulation, or agreed order, or general order entered
          by the Court that is or becomes final, the Debtors and their estates reserve their
          rights to dispute or challenge the validity, perfection, or immunity from avoidance
          of any lien purported to be granted or perfected in any specific asset to any creditor
          of any Debtor. The Debtors reserve all rights to dispute or challenge the secured
          nature of any such creditor’s Claim or the characterization of the structure of any
          such transaction or any document or instrument related to such creditor’s Claim.

          The Debtors have not included on Schedule D parties that may believe their Claims
          are secured through setoff rights or inchoate statutory lien rights.

    (i)   Schedule E/F – Creditors Who Have Unsecured Claims. The listing of any
          Claim on Schedule E/F does not constitute an admission by the Debtors that such
          Claim or any portion thereof is entitled to priority treatment under section 507 of
          the Bankruptcy Code. The Debtors reserve all of their rights to dispute the amount
          and/or the priority status of any Claim on any basis at any time.

          Part 1 - Creditors with Priority Unsecured Claims. Pursuant to the Final Order
          (I) Authorizing the Payment of Certain Taxes and Fees and (II) Granting Related
          Relief [Docket No. 526] (the “Taxes Order”), the Court granted the Debtors
          authority to pay, in their sole discretion, certain tax liabilities and regulatory fees,
          including certain business licensing fees, that accrued prepetition. Accordingly,
          any unsecured priority claims based upon prepetition tax accruals that have been or
          will be paid pursuant to the Taxes Order are not listed in Schedule E.

          Furthermore, pursuant to the Final Order Authorizing the Debtors to
          (I) Authorizing the Debtors to (A) Pay Prepetition Wages, Salaries, Other
          Compensation, and Reimbursable Expenses and (B) Continue Employee Benefits
          Programs and (II) Granting Related Relief [Docket No. 518] (the “Wages Order”),
          the Court granted the Debtors authority to pay or honor certain prepetition
          obligations for employee wages, salaries, and other compensation, reimbursable
          employee expenses, and employee medical and similar benefits, in the ordinary
          course of business. The Debtors believe that all such Claims have been, or will be,
          satisfied in the ordinary course during their chapter 11 cases pursuant to the
          authority granted in the Wages Order, and such satisfied amounts are not set forth
          on Schedule E.

          The listing of a claim on Schedule E/F, Part 1 does not constitute an admission by
          the Debtors that such claim or any portion thereof is entitled to priority status.

          Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
          in Schedule E/F, Part 2 are derived from the Debtors’ books and records. The



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          Debtors made a reasonable attempt to set forth their unsecured obligations,
          although the actual amount of Claims against the Debtors may vary from those
          liabilities represented on Schedule E/F, Part 2. The listed liabilities may not reflect
          the correct amount of any unsecured creditor’s allowed Claims or the correct
          amount of all unsecured Claims. Certain creditors listed on Schedule E/F may owe
          amounts to the Debtors and, as such, the Debtors may have valid setoff or
          recoupment rights with respect to such amounts, including on account of
          outstanding cryptocurrency or other loans. The amounts listed on Schedule E/F do
          not reflect any such right of setoff or recoupment and the Debtors reserve all rights
          to assert any such setoff or recoupment rights.

          Schedule E/F, Part 2 contains information regarding threatened or pending
          litigation involving the Debtors. The amounts for these potential claims are listed
          as “undetermined” and are marked as contingent, unliquidated, and disputed in the
          Schedules and Statements. In certain instances, the date on which a litigation claim
          arose is an open issue of fact. Determining the date upon which each claim in
          Schedule E/F, Part 2 was incurred or arose would be unduly burdensome and
          prohibitively costly and, therefore, the Debtors do not list a date for each claim
          listed on Schedule E/F, Part 2.

          Schedule E/F, Part 2 reflects the prepetition amounts owing to counterparties to
          executory contracts and unexpired leases. Such prepetition amounts, however, may
          be paid in connection with the assumption, or assumption and assignment, of an
          executory contract or unexpired lease. In addition, Schedule E/F, Part 2 does not
          include rejection damage claims, to the extent such damage claims exist, of the
          counterparties to the executory contracts and unexpired leases that have been or
          may be rejected.

          Schedule E/F, Part 2 does not include certain deferred credits, deferred charges,
          deferred liabilities, accruals, or general reserves. Such amounts are general
          estimates of liabilities and do not represent specific claims as of the Petition Date;
          however, such amounts are reflected on the Debtors’ books and records as required
          in accordance with GAAP.

          The claims of individual creditors for, among other things, goods, services, or taxes
          listed on the Debtors’ books and records may not reflect credits or allowances due
          from such creditors. The Debtors reserve all of their rights in respect of such credits
          or allowances. The dollar amounts listed may be exclusive of contingent or
          unliquidated amounts.

    (j)   Schedule G – Executory Contracts and Unexpired Leases. While reasonable
          efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
          omissions may have occurred. The Debtors reserve all rights to supplement or
          amend Schedule G as necessary.

          Certain relationships between the Debtors and their vendors and account holders
          may be governed by a master services agreement, under which counterparties may



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            place purchase orders or other ancillary agreements which may be considered
            executory contracts.

            Listing a contract or agreement on Schedule G does not constitute an admission
            that such contract or agreement is an executory contract or unexpired lease or that
            such contract or agreement was in effect on the Petition Date or is valid or
            enforceable. The Debtors hereby reserve all of their rights to dispute the validity,
            status, or enforceability of any contracts, agreements, or leases set forth in
            Schedule G and to amend or supplement such Schedule as necessary. Certain of
            the leases and contracts listed on Schedule G may contain renewal options,
            guarantees of payment, indemnifications, options to purchase, rights of first refusal
            and other miscellaneous rights. Such rights, powers, duties, and obligations are not
            set forth separately on Schedule G. In addition, the Debtors may have entered into
            various other types of agreements in the ordinary course of their business, such as
            supplemental agreements and letter agreement, which documents may not be set
            forth in Schedule G.

            The Debtors reserve all rights to dispute or challenge the characterization of any
            transaction or any document or instrument related to a creditor’s claim.

            In some cases, the same counterparty may appear multiple times in Schedule G.
            Multiple listings, if any, reflect distinct agreements between the applicable Debtor
            and such supplier or provider.

            The listing of any contract on Schedule G does not constitute an admission by the
            Debtors as to the validity of any such contract. The Debtors reserve the right to
            dispute the effectiveness of any such contract listed on Schedule G or to amend
            Schedule G at any time to remove any contract.

            Omission of a contract or agreement from Schedule G does not constitute an
            admission that such omitted contract or agreement is not an executory contract or
            unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
            any such omitted contracts or agreements are not impaired by the omission.

6.   Specific Statements Disclosures.

     (a)    Statement Question 3 – Payments to Creditors. All accounts payable
            disbursements listed in Statement Question 3 are made through the Debtors’ cash
            management system, more fully described in the Cash Management Motion. Dates
            listed in Statement Questions 3 reflect the dates upon which the Debtor transferred
            funds to the relevant payee or disbursing agent. Certain disbursements may be
            excluded from Statement 3, such as disbursements to retained professionals
            (reported elsewhere). Certain payroll-related pass-through payments have been
            excluded from Statement 3.

            Statement Question 3 also includes details regarding certain cryptocurrency
            transactions, including earned interest or rewards, coin withdrawals and deposits,
            coin transfers, and other transactions, in order to provide a transparent transaction


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          history. The Debtors recognize that not all listed transactions are directly
          responsive to Statement Question 3, however they believe that presenting the
          transaction history provides the most accurate view. Due to their voluminous
          nature, earned rewards are presented on an aggregated basis by transferee and by
          coin type. A table describing the transaction codes and their meanings is included
          following section (b) below.

          After the Debtors established custody accounts on April 15, 2022, certain
          withdrawals off of the Debtors’ platform may have moved through a custody
          account. As a result, coin transfers from a non-custody to a custody account listed
          in Statement Question 3 may also be reflected in coin withdrawals on Statement
          Question 3.

          For the avoidance of doubt, any payments made in connection with the Debtors’
          bankruptcy within the 12-month period prior to the Petition Date are disclosed in
          response to Statement Question 11 and therefore are not listed in response to
          Statement Question 3. Further, any payments made to an insider within the
          12-month period prior to the Petition Date are disclosed in response to Statement
          Question 4 and therefore are not listed in response to Statement Question 3.

    (b)   Statement Question 4 – Payments to Insiders. The Debtors have responded to
          Statement Questions 4 and 30 in detailed format by insider in the attachment for
          Statement Question 4.

          Included in Statement Question 4 are expense reimbursements paid to insiders on
          account of charges to their corporate credit card. In addition to reimbursements for
          personal business expenses, responses to Statement Question 4 may also include
          payments for Debtor business expenses, such as vendor invoices, also charged to
          the insider’s corporate credit card. Such vendor payments are included to ensure
          completeness but do not represent transfers for the personal benefit of the insider.
          The response to Statement Question 4 excludes any charges related to certain
          employee training programs. Due to reporting constraints, certain expense line
          items may be duplicated. Additional detail is available upon request.

          Statement Question 4 also includes details regarding certain cryptocurrency
          transactions, including earned interest or rewards, coin withdrawals and deposits,
          coin transfers, and other transactions, in order to provide a transparent transaction
          history. The Debtors recognize that not all listed transactions are directly
          responsive to Statement Question 4, however they believe that presenting the
          transaction history provides the most accurate view. Due to their voluminous
          nature, earned rewards are presented on an aggregated basis by transferee and by
          coin type. A table describing the transaction codes and their meanings is included
          below. For the avoidance of doubt, insiders earned rewards on their cryptocurrency
          at the same rate as every other account holder in the earn program.

          After the Debtors established custody accounts on April 15, 2022, certain
          withdrawals off the Debtors’ platform may have moved through a custody account.



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                   As a result, coin transfers from a non-custody to a custody account listed in
                   Statement Question 4 may also be reflected as coin withdrawals listed in Statement
                   Question 4.

                   The Debtors have also reported monthly intercompany positions in Statement
                   Question 4. In addition, intercompany payables and receivables as of the Petition
                   Date can be found on Schedule E/F and Schedule AB.

                   To the extent: (i) a person qualified as an insider in the year prior to the
                   Petition Date but later resigned their insider status or (ii) did not begin the year as
                   an insider but later became an insider, the Debtors have listed in response to
                   Statement Question 4 all payments or transfers made during the applicable 12-
                   month period, irrespective of when such person was defined as an “insider.”

                   As discussed above, the inclusion of a party as an insider is not intended to be, nor
                   should be, construed as a legal characterization of such party as an insider and does
                   not act as an admission of any fact, Claim, right, or defense, and any such rights,
                   Claims, and defenses are hereby expressly reserved.
  Descriptive Purpose        Definition
  Deposit                    Incoming transfer of funds into a user's account that results in an increase in the user account balance of coin that was
                             deposited.
  Withdrawal                 Coin withdrawals are reductions to a Celsius users balance and may include withdrawals for the purpose of moving coin between
                             a single users accounts.
  Inbound Transfer           CelPay is a crypto-remittance product where customers can initiate a crypto-asset transfers to other Celsius customers. Instead
                             of initiating a transfer to a crypto wallet address, a link is generated and can be shared with the proposed receiver. The receiver
                             needs to be registered with Celsius for the transfer to complete. This represents the inbound side of the transaction.
  Outbound Transfer          See above. This represents the outbound side of the transaction.
  Interest                   Rewards paid at a fixed rate, reset weekly, for holding coin in an "Earn" account.
  Internal Account Transfer Movement of funds between Celsius Earn, Custody or Withheld account types.
  Swap In                    Represents the funds received in a swap transaction (e.g. if you buy 1 BTC with 30,000 USDC, you will see a swap in transaction
                             for + 1 BTC).
  Swap Out                   Represents the funds paid in a swap transaction (e.g. if you buy 1 BTC with 30,000 USDC, you will see a swap out transaction
                             for -30,000 USDC).
  Loan Principal Payment     Represents the amounts funded for the loan and the amounts paid by the user to repay loan principal.
  Loan Interest Payment      Represents payments made to satisfy loan interest.
  Loan Principal Liquidation Represents the amount of collateral sold to pay off the borrowed principal (e.g. if a loan for $20K USD is liquidated, and the
                             price of BTC is $16K then this field will equal -1.25 (BTC); number should be a negative)). This transaction reduces the overall
                             user account balance (of the token held in collateral) by the amount of the token that was liquidated.
  Loan Interest Liquidation     The final interest charged on the liquidation of a loan.
  Collateral                    Coin pledged as security for repayment of a loan in the event of a borrowers default. Will include any initial collateral posted as
                                security, as well as any additional collateral provided in response to margin calls. Collateral transaction line items do not
                                represent actual coin movement. These line items reflect system designations that separately identify pledged coin from non-
                                pledged coin in a given account.
  Operation Cost                Represents the liquidation fee charged on the closing of a loan.
  Referred Award                Represents an award of coin to new users who are referred by an existing customer.
  Referrer Award                Represents an award of coin to a user for referring a new customer to Celsius.
  Bonus Token                   Represents coins rewarded as a bonus for achieving certain milestones.
  Promo Code Reward             Reward for entering a unique code on a users account and depositing a certain amount of coin on to the platform to qualify for
                                the promotion.


       (c)         Statement Question 11 – Payments Made Related to Bankruptcy. Although the
                   Debtors have made reasonable efforts to distinguish between payments made for
                   professional services related and unrelated to their restructuring efforts, some
                   amounts listed in response to Statement Question 11 may include payments for
                   professional services unrelated to bankruptcy.



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    (d)   Statement Question 21 – Property Held for Another. Statement Question 21
          details certain cryptocurrency held in custody and/or withhold accounts. Due to the
          voluminous nature of this data, amounts held in custody and/or withhold accounts
          are listed alongside amounts held in earn accounts on Schedule F. For the
          avoidance of doubt, the listing of such amounts on Schedule F is purely for clerical
          simplicity and efficiency, and does not amount to an assertion that such amounts
          are general unsecured claims or property of the estate pursuant to section 541 of the
          Bankruptcy Code.

    (e)   Statement Question 25 – Other Businesses. In addition to business interests listed
          in Statement Question 25, the Debtors also have or had interests in various
          decentralized autonomous organizations (DAOs). Due to the non-traditional
          structure of DAOs, they have been excluded from Statement Question 25.




                            *       *       *      *       *




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    Fill in this information to identify the case:


     Debtor name     Celsius Network Limited


     United States Bankruptcy Court for the:    Southern District of New York


     Case number (If known)      22-10966


                                                                                                                                                   ¨ Check if this is an
                                                                                                                                                        amended filing



  Official Form 207
  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                            04/19
  The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and case
  number (if known).

   Part 1:     Income


  1. Gross revenue from business

     ¨       None

                                                                                                                                           Gross revenue
             Identify the beginning and ending dates of the debtor’s fiscal                        Sources of revenue
                                                                                                                                           (before deductions and
             year, which may be a calendar year                                                    Check all that apply
                                                                                                                                           exclusions)

             From the beginning of                                                                 þ      Operating a business
             the fiscal year to                    From 1/1/2022                to   7/13/2022            Other                              $          $21,159,856.37
                                                                                                   ¨
             filing date:                                   MM/DD/YYYY


             For prior year:                       From 1/1/2021                to   12/31/2021    þ      Operating a business
                                                            MM/DD/YYYY                MM/DD/YYYY   ¨      Other                              $         $512,099,940.08


             For the year before that:             From 1/1/2020                to   12/31/2020    þ      Operating a business
                                                            MM/DD/YYYY                MM/DD/YYYY   ¨      Other                              $          $53,130,791.08




  2. Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
     from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     ¨       None


                                                                                                                                           Gross revenue from
                                                                                                   Description of sources of               each source
                                                                                                   revenue                                 (before deductions and
                                                                                                                                           exclusions)

             From the beginning of
             the fiscal year to                   From    01/01/2022            to   06/30/2022    Loan Interest                             $             1,701,065.01
             filing date:                                   MM/DD/YYYY

             For prior year:                      From    01/01/2021            to   12/31/2021    None                                      $                      0.00
                                                            MM/DD/YYYY                MM/DD/YYYY


             For the year before that:            From    01/01/2020            to   12/31/2020    Initial Coin Offering                     $             5,721,556.00
                                                            MM/DD/YYYY                MM/DD/YYYY




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Debtor       Celsius Network Limited                                                   Pg 21 of 62         Case number (If known) 22-10966
             Name




   Part 2:      List Certain Transfers Made Before Filing for Bankruptcy


  3. Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers including expense reimbursements to any creditor, other than regular employee compensation, within 90
     days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7, 575. (This amount may be adjusted
     on 4/01/2025 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     ¨       None       See Attached Rider

             Creditor’s name and address                                         Dates                 Total amount or value              Reasons for payment or transfer
                                                                                                                                          Check all that apply

     3.1                                                                                               $                                   ¨    Secured debt
           ____________________________________________________________

           ____________________________________________________________                                                                    ¨    Unsecured loan repayments
           Street
           ____________________________________________________________
                                                                                                                                           ¨    Suppliers or vendors
           ____________________________________________________________
           City                         State                 Zip Code                                                                     ¨    Services

                                                                                                                                           ¨    Other


     3.2                                                                                               $                                   ¨    Secured debt
           ____________________________________________________________

           ____________________________________________________________                                                                    ¨    Unsecured loan repayments
           Street
           ____________________________________________________________
                                                                                                                                           ¨    Suppliers or vendors
           ____________________________________________________________
           City                         State                 Zip Code                                                                     ¨    Services

                                                                                                                                           ¨    Other


  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7, 575. (This amount may be adjusted on 4/01/2025 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
     Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
     general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates ; and any managing agent of
     the debtor. 11 U.S.C. § 101(31).


     ¨     None      See Attached Rider

             Insider’s name and address                                      Dates                Total amount or value               Reasons for payment or transfer



     4.1                                                                                           $
           _______________________________________________________                                                                    _______________________________________________________

           _______________________________________________________                                                                    _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                         State           Zip Code




             Relationship to debtor




     4.2                                                                                           $
           _______________________________________________________                                                                    _______________________________________________________

           _______________________________________________________                                                                    _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                         State           Zip Code




             Relationship to debtor




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             Name




  5. Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

     þ       None

              Creditor’s name and address                                     Description of the property                                                  Date                    Value of property

     5.1    ____________________________________________________________      _______________________________________________________                                              $
            ____________________________________________________________      _______________________________________________________
            Street
            ____________________________________________________________

            ____________________________________________________________
            City                         State                 Zip Code




     5.2    ____________________________________________________________      _______________________________________________________                                              $
            ____________________________________________________________      _______________________________________________________
            Street
            ____________________________________________________________

            ____________________________________________________________
            City                         State                 Zip Code




  6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt .

     ¨        None

              Creditor’s name and address                                     Description of the action creditor took                                      Date action was         Amount
                                                                                                                                                           taken

           ____________________________________________________________       _______________________________________________________
                                                                                                                                                                                   $

           ____________________________________________________________       _______________________________________________________
           Street
           ____________________________________________________________

           ____________________________________________________________
           City                         State                 Zip Code


                                                                                   Last 4 digits of account number: XXXX -



   Part 3:              Legal Actions or Assignments


  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity-within 1 year before filing this case.

     ¨       None         See Attached Rider

              Case title                                          Nature of case                                  Court or agency’s name and address                               Status of case

     7.1 ____________________________                          ____________________________                     _______________________________________________________________    ¨   Pending
                                                                                                                _______________________________________________________________    ¨   On appeal
                                                                                                                Street

              Case number
                                                                                                                _______________________________________________________________
                                                                                                                City                         State                 Zip Code        ¨   Concluded




              Case title                                          Nature of case                                  Court or agency’s name and address                               Status of case

     7.2 ____________________________                          ____________________________                      _______________________________________________________________   ¨   Pending
                                                                                                                 _______________________________________________________________   ¨   On appeal
                                                                                                                 Street
                                                                                                                 _______________________________________________________________
              Case number                                                                                        City                         State                 Zip Code       ¨   Concluded




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            Name
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  8. Assignments and receivership

         List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
         hands of a receiver, custodian, or other court- appointed officer within 1 year before filing this case.

    þ       None

              Custodian’s name and address                                          Description of the property                              Value

            _______________________________________________________________                                                                   $
            _______________________________________________________________
            Street                                                                  Case title
            _______________________________________________________________                                                                  Court name and address
            _______________________________________________________________
            City                         State                 Zip Code

                                                                                    Case number




                                                                                    Date of order or assignment




   Part 4:       Certain Gifts and Charitable Contributions


  9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate
     value of the gifts to that recipient is less than $1,000

    þ       None

              Recipient’s name and address                                          Description of the gifts or contributions                     Dates given         Value


    9.1                                                                                                                                                               $
            _______________________________________________________________        _______________________________________________________

            _______________________________________________________________        _______________________________________________________
            Street
            _______________________________________________________________

            _______________________________________________________________
            City                         State                 Zip Code




              Recipient’s relationship to debtor




    9.2     _______________________________________________________________        _______________________________________________________                            $
            _______________________________________________________________        _______________________________________________________
            Street
            _______________________________________________________________

            _______________________________________________________________
            City                         State                 Zip Code




              Recipient’s relationship to debtor




   Part 5:       Certain Losses


  10. All losses from fire, theft, or other casualty within 1 year before filing this case.

    ¨       None
             Description of the property lost and                                  Amount of payments received for the loss                       Date of loss        Value of property
             how the loss occurred                                                 If you have received payments to cover the loss, for                               lost
                                                                                   example, from insurance, government compensation,
                                                                                   or tort liability, list the total received.
                                                                                   List unpaid claims on Official Form 106A/B
                                                                                   (Schedule A/B: Assets - Real and Personal Property).


            See Attached Rider                                                     _______________________________________________________                            $




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           Name




   Part 6:             Certain Payments or Transfers


  11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
         the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
         seeking bankruptcy relief, or filing a bankruptcy case.

    ¨      None       See Attached Rider
             Who was paid or who received the                                   If not money, describe any property                          Dates             Total amount or
             transfer?                                                          transferred                                                                    value
    11.1                                                                        _______________________________________________________                        $
                                                                                _______________________________________________________
             Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                         State                 Zip Code




             Email or website address




             Who made the payment, if not debtor?




             Who was paid or who received the                                   If not money, describe any property                          Dates             Total amount or
             transfer?                                                          transferred                                                                    value
    11.2                                                                                                                                                       $
                                                                                _______________________________________________________

                                                                                _______________________________________________________
             Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                         State                 Zip Code




             Email or website address




             Who made the payment, if not debtor?




  12. Self-settled trusts of which the debtor is a beneficiary

         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of
         this case to a self-settled trust or similar device.
         Do not include transfers already listed on this statement.

    þ      None
             Name of trust or device                                            Describe any property transferred                            Dates transfers   Total amount or
                                                                                                                                             were made         value


                                                                                                                                                               $
                                                                                _______________________________________________________

                                                                                _______________________________________________________


             Trustee




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           Name




  13. Transfers not already listed on this statement
         List any transfers of money or other property-by sale, trade, or any other means-made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs . Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.



    þ      None
             Who received transfer?                                            Description of property transferred or                          Date transfer     Total amount or
                                                                               payments received or debts paid in exchange                     was made          value
    13.1                                                                                                                                                        $
                                                                              _______________________________________________________

                                                                              _______________________________________________________
             Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                         State                 Zip Code




             Relationship to debtor




             Who received transfer?                                            Description of property transferred or                          Date transfer     Total amount or
                                                                               payments received or debts paid in exchange                     was made          value
    13.2                                                                                                                                                        $
                                                                              _______________________________________________________

                                                                              _______________________________________________________
             Address


           _______________________________________________________________

           _______________________________________________________________
           Street
           _______________________________________________________________

           _______________________________________________________________
           City                         State                 Zip Code




             Relationship to debtor




   Part 7:      Previous Locations

  14. Previous addresses

         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

    ¨      Does not apply

             Address                                                                                                                    Dates of Occupancy

    14.1 115 COVENTRY ROAD, BETHNAL GREEN                                                                                               From   May 2021          To       January 2022
           LONDON, E2 6GG, UNITED KINGDOM




    14.2                                                                                                                                From                     To




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           Name



   Part 8:       Health Care Bankruptcies


  15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for :
          - diagnosing or treating injury, deformity, or disease, or
          - providing any surgical, psychiatric, drug treatment, or obstetric care?

    þ      No. Go to Part 9.

    ¨      Yes. Fill in the information below.

             Facility name and address                                         Nature of the business operation, including type of                                         If debtor provides meals
                                                                               services the debtor provides                                                                and housing, number of
                                                                                                                                                                           patients in debtor’s care

    15.1
           _______________________________________________________             _______________________________________________________

           _______________________________________________________             _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                         State           Zip Code               Location where patient records are maintained                                               How are records kept?
                                                                               (if different from facility address). If electronic, identify any
                                                                               service provider.

                                                                               _______________________________________________________
                                                                                                                                                                           Check all that apply:

                                                                               _______________________________________________________
                                                                                                                                                                          ¨    Electronically

                                                                                                                                                                          ¨    Paper


             Facility name and address                                         Nature of the business operation, including type of                                         If debtor provides meals
                                                                               services the debtor provides                                                                and housing, number of
                                                                                                                                                                           patients in debtor’s care

    15.2
           _______________________________________________________             _______________________________________________________

           _______________________________________________________             _______________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                         State           Zip Code
                                                                               Location where patient records are maintained                                               How are records kept?
                                                                               (if different from facility address). If electronic, identify any
                                                                               service provider.

                                                                                                                                                                           Check all that apply:
                                                                               _______________________________________________________

                                                                               _______________________________________________________                                    ¨    Electronically

                                                                                                                                                                          ¨    Paper

   Part 9:        Personally Identifiable Information


  16. Does the debtor collect and retain personally identifiable information of customers?

    ¨      No.
    þ      Yes. State the nature of the information collected and retained.                                     See Attached Rider

                  Does the debtor have a privacy policy about that information?
                  ¨     No
                  þ     Yes

  17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
      pension or profit-sharing plan made available by the debtor as an employee benefit?

    ¨      No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                  ¨     No. Go to Part 10.
                  þ     Yes. Fill in below
                         Name of plan                                                                                                           Employer identification number of the plan

                        Smart Pension Trust                                                                                              EIN:        09026697

                        Has the plan been terminated?

                        þ     No
                        ¨     Yes



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           Name




  Part 10:        Certain Financial Accounts, Safe Deposit Boxes, and Storage Units


  18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name , or for the debtor’s benefit, closed,
         old, moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.

    ¨      None       See Attached Rider


             Financial institution name and address                            Last 4 digits of                   Type of account                 Date account was                          Last balance
                                                                               account number                                                     closed, sold, moved,                      before closing or
                                                                                                                                                  or transferred                            transfer

    18.1                                                                       XXXX-                            ¨     Checking                                                          $
           _______________________________________________________

                                                                                                                ¨     Savings
           _______________________________________________________
           Street
           _______________________________________________________                                              ¨     Money Market
           _______________________________________________________                                              ¨     Brokerage
           City                         State           Zip Code

                                                                                                                ¨     Other

    18.2                                                                       XXXX-                            ¨     Checking                                                          $
           _______________________________________________________

                                                                                                                ¨     Savings
           _______________________________________________________
           Street
           _______________________________________________________                                              ¨     Money Market
           _______________________________________________________                                              ¨     Brokerage
           City                         State           Zip Code

                                                                                                                ¨     Other



  19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

    þ      None

             Depository institution name and                                   Names of anyone with access to it                     Description of the contents                                   Does debtor
             address                                                                                                                                                                               still have it?

                                                                                                                                                                                                  ¨     No
           _______________________________________________________            ____________________________________________________   ____________________________________________________

                                                                                                                                                                                                  ¨     Yes
           _______________________________________________________            ____________________________________________________   ____________________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                         State           Zip Code

                                                                               Address


                                                                              ____________________________________________________

                                                                              ____________________________________________________




  20. Off-premises storage

         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building
         in which the debtor does business.

    þ      None

             Facility name and address                                         Names of anyone with access to it                     Description of the contents                                   Does debtor
                                                                                                                                                                                                   still have it?

           _______________________________________________________            ____________________________________________________   ____________________________________________________         ¨     No
           _______________________________________________________            ____________________________________________________   ____________________________________________________         ¨     Yes
           Street
           _______________________________________________________

           _______________________________________________________
           City                         State           Zip Code


                                                                               Address


                                                                              ____________________________________________________

                                                                              ____________________________________________________




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           Name




  Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own


  21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

    þ      None

             Owner’s name and address                                       Location of the property                                   Description of the property                           Value

                                                                                                                                                                                             $
           _______________________________________________________          ____________________________________________________       _______________________________________________

           _______________________________________________________          ____________________________________________________       _______________________________________________
           Street
           _______________________________________________________

           _______________________________________________________
           City                         State           Zip Code




  Part 12:        Details About Environmental Information


  For the purpose of Part 12, the following definitions apply:

         Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).

         Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.

         Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.


  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    þ      No

    ¨      Yes. Provide details below.

             Case title                                                       Court or agency name and address                              Nature of the case                                   Status of case


                                                                             _______________________________________________________       _______________________________________________       ¨   Pending

                                                                             _______________________________________________________       _______________________________________________       ¨   On appeal
                                                                             Street
             Case Number                                                     _______________________________________________________
                                                                                                                                                                                                 ¨   Concluded
                                                                             _______________________________________________________
                                                                             City                         State           Zip Code




  23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
      environmental law?

    þ      No

    ¨      Yes. Provide details below.

             Site name and address                                            Governmental unit name and address                            Environmental law, if known                          Date of notice


           _______________________________________________________           _______________________________________________________       _______________________________________________

           _______________________________________________________           _______________________________________________________       _______________________________________________
           Street                                                            Street
           _______________________________________________________           _______________________________________________________

           _______________________________________________________           _______________________________________________________
           City                         State           Zip Code             City                         State           Zip Code




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           Name




  24. Has the debtor notified any governmental unit of any release of hazardous material?

    þ      No
    ¨      Yes. Provide details below.

             Site name and address                                            Governmental unit name and address                         Environmental law, if known                           Date of notice


           _______________________________________________________           _______________________________________________________   ________________________________________________

           _______________________________________________________           _______________________________________________________   ________________________________________________
           Street                                                            Street
           _______________________________________________________           _______________________________________________________

           _______________________________________________________           _______________________________________________________
           City                         State           Zip Code             City                         State           Zip Code




  Part 13:        Details About the Debtor’s Business or Connections to Any Business


  25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.

    ¨      None       See Attached Rider

             Business name and address                                        Describe the nature of the business                                 Employer Identification number
                                                                                                                                                  Do not include Social Security number or ITIN.

    25.1 _______________________________________________________             ____________________________________________________                  EIN:
           _______________________________________________________           ____________________________________________________
           Street
           _______________________________________________________
                                                                                                                                                  Dates business existed

           _______________________________________________________
           City                         State           Zip Code                                                                                  From                                    To




             Business name and address                                        Describe the nature of the business                                 Employer Identification number
                                                                                                                                                  Do not include Social Security number or ITIN.

    25.2                                                                                                                                           EIN:
           _______________________________________________________           ____________________________________________________

           _______________________________________________________           ____________________________________________________                 Dates business existed
           Street
           _______________________________________________________

           _______________________________________________________                                                                                From                                    To
           City                         State           Zip Code




             Business name and address                                        Describe the nature of the business                                 Employer Identification number
                                                                                                                                                  Do not include Social Security number or ITIN.

    25.3                                                                                                                                           EIN:
           _______________________________________________________           ____________________________________________________

           _______________________________________________________           ____________________________________________________
           Street                                                                                                                                 Dates business existed
           _______________________________________________________

           _______________________________________________________
           City                         State           Zip Code                                                                                  From                                    To




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           Name




  26. Books, records, and financial statements
         26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

           ¨       None        See Attached Rider

             Name and address                                                                                                                      Dates of service


   26a.1   _________________________________________________________________________________________________________________________               From                                   To
           _________________________________________________________________________________________________________________________
           Street
           _________________________________________________________________________________________________________________________

           _________________________________________________________________________________________________________________________
           City                                               State                                                            Zip Code




             Name and address                                                                                                                      Dates of service


   26a.2                                                                                                                                           From                                   To
           _________________________________________________________________________________________________________________________

           _________________________________________________________________________________________________________________________
           Street
           _________________________________________________________________________________________________________________________

           _________________________________________________________________________________________________________________________
           City                                               State                                                            Zip Code




         26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
              statement within 2 years before filing this case.

           ¨       None        See Attached Rider

                    Name and address                                                                                                               Dates of service



         26b.1     ______________________________________________________________________________________________________________________
                                                                                                                                                   From                                   To
                   ______________________________________________________________________________________________________________________
                   Street
                   ______________________________________________________________________________________________________________________

                   ______________________________________________________________________________________________________________________
                   City                                               State                                                            Zip Code




                    Name and address                                                                                                               Dates of service



           26b.2                                                                                                                                   From                                   To
                   ______________________________________________________________________________________________________________________

                   ______________________________________________________________________________________________________________________
                   Street
                   ______________________________________________________________________________________________________________________

                   ______________________________________________________________________________________________________________________
                   City                                               State                                                            Zip Code




         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed .

           ¨       None        See Attached Rider

                    Name and address                                                                                                               if any books of account and records are
                                                                                                                                                   unavailable, explain why

         26c.1
                   ______________________________________________________________________________________________________________________         ____________________________________________________

                   ______________________________________________________________________________________________________________________         ____________________________________________________
                   Street
                   ______________________________________________________________________________________________________________________

                   ______________________________________________________________________________________________________________________
                   City                                               State                                                            Zip Code




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            Name




                     Name and address                                                                                                              if any books of account and records are
                                                                                                                                                   unavailable, explain why

           26c.2
                   ______________________________________________________________________________________________________________________         ____________________________________________________

                   ______________________________________________________________________________________________________________________         ____________________________________________________
                   Street
                   ______________________________________________________________________________________________________________________

                   ______________________________________________________________________________________________________________________
                   City                                               State                                                            Zip Code




         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
              statement within 2 years before filing this case.

            ¨      None        See Attached Rider

                     Name and address



         26d.1     _________________________________________________________________________________________________________________________

                   _________________________________________________________________________________________________________________________
                   Street
                   _________________________________________________________________________________________________________________________

                   _________________________________________________________________________________________________________________________
                   City                                               State                                                            Zip Code




                     Name and address



           26d.2   _________________________________________________________________________________________________________________________

                   _________________________________________________________________________________________________________________________
                   Street
                   _________________________________________________________________________________________________________________________

                   _________________________________________________________________________________________________________________________
                   City                                               State                                                            Zip Code




  27. Inventories

         Have any inventories of the debtor’s property been taken within 2 years before filing this case?

         þ      No

         ¨      Yes. Give the details about the two most recent inventories.


             Name of the person who supervised the taking of the inventory                                                            Date of      The dollar amount and basis (cost,
                                                                                                                                      inventory    market, or other basis) of each inventory


                                                                                                                                                      $

             Name and address of the person who has possession of
             inventory records

    27.1    ___________________________________________________________________________________________________________

            ___________________________________________________________________________________________________________
            Street
            ___________________________________________________________________________________________________________

            ___________________________________________________________________________________________________________
            City                                               State                                              Zip Code




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           Name
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            Name of the person who supervised the taking of the inventory                                                       Date of       The dollar amount and basis (cost,
                                                                                                                                inventory     market, or other basis) of each inventory


                                                                                                                                                $

            Name and address of the person who has possession of
            inventory records

    27.2
           ___________________________________________________________________________________________________________

           ___________________________________________________________________________________________________________
           Street
           ___________________________________________________________________________________________________________

           ___________________________________________________________________________________________________________
           City                                               State                                              Zip Code




  28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders,
      or other people in control of the debtor at the time of the filing of this case.

            Name                                                    Address                                                          Position and nature of any          % of interest, if any
                                                                                                                                     interest

           See Attached Rider




  29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
      members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

    ¨      No

    þ      Yes. Identify below.
            Name                                                    Address                                                          Position and nature of        Period during which
                                                                                                                                     any interest                  position or interest
                                                                                                                                                                   was held
           See Attached Rider                                                                                                                                     From                 To

                                                                                                                                                                  From                 To

                                                                                                                                                                  From                 To

                                                                                                                                                                  From                 To


  30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?

    ¨      No

    ¨      Yes. Identify below.

            Name and address of recipient                                                                        Amount of money or                 Dates                 Reason for
                                                                                                                 description and value of                                 providing the value
                                                                                                                 property

    30.1 Please Refer to SOFA Question 4.
           ____________________________________________________________________________________                                                                          ____________________________

           ____________________________________________________________________________________                                                                          ____________________________
           Street
           ____________________________________________________________________________________
           City                                State                                Zip Code




            Relationship to debtor




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Debtor     Celsius Network Limited                                                    Pg 33 of 62          Case number (If known) 22-10966
           Name




             Name and address of recipient                                                          Amount of money or                 Dates                   Reason for
                                                                                                    description and value of                                   providing the value
                                                                                                    property

   30.2
           ____________________________________________________________________________________                                                               ____________________________

           ____________________________________________________________________________________                                                               ____________________________
           Street
           ____________________________________________________________________________________
           City                                State                                Zip Code




             Relationship to debtor




  31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

    þ      No
    ¨      Yes. Identify below.

             Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                                        corporation

                                                                                                                       EIN:



  32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

    ¨      No

    þ      Yes. Identify below.

             Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                                        fund

           Smart Pension Trust                                                                                         EIN: 09026697



  Part 14:        Signature and Declaration



           WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
           connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
           18 U.S.C. §§ 152, 1341, 1519, and 3571.

           I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
           is true and correct.

           I declare under penalty of perjury that the foregoing is true and correct.



           Executed on            10/05/2022

                                     MM / DD / YYYY




     X /s/ Christopher Ferraro                                                                       Printed name     Christopher Ferraro

           Signature of individual signing on behalf of the debtor


           Position or relationship to debtor                 Acting CEO, CRO & CFO




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

    ¨      No

    þ      Yes




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                                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


                                       SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case



 Creditor Name & Address                 Check or Wire                 Payment Date                  Reason For Payment                        Amount Paid
                                         Number

 192 BUSINESS EXPERIAN                   P22042001 - 5039157           04/21/2022                    Suppliers or Vendors                                       $49,139.32
 SIR JOHN PEACE BUILDING
 NOTTINGHAM, NG80 1ZZ
 UNITED KINGDOM
                                                                                                                                    SUBTOTAL                    $49,139.32
 3 VERULAM BUILDINGS                     P22060901 - 8549252           06/10/2022                    Suppliers or Vendors                                       $63,600.03
 GRAYS INN
 LONDON, WC1R 5NT
 UNITED KINGDOM
                                                                                                                                    SUBTOTAL                    $63,600.03
 ADAMS, JEFFREY                          P22042001 - 5039174           04/21/2022                    Suppliers or Vendors                                           $8,333.33
 ADDRESS REDACTED
                                         P22050501 - 9118484           05/06/2022                    Suppliers or Vendors                                           $8,333.33
                                         P22061501 - 0198194           06/16/2022                    Suppliers or Vendors                                           $8,333.33

                                                                                                                                    SUBTOTAL                    $24,999.99
 AGILE FREAKS SRL                        20220512B6B7261F0017          05/12/2022                    Suppliers or Vendors                                           $8,450.00
 104 CALEA POPLĂCII                      52
 SIBIU SIBIU, 550141
 ROMANIA
                                         20220609B6B7261F0020          06/09/2022                    Suppliers or Vendors                                       $17,940.00
                                         66

                                                                                                                                    SUBTOTAL                    $26,390.00
 AKIN GUMP STRAUSS HAUER &               20220525B6B7261F0042          05/25/2022                    Services                                                  $230,937.85
 FELD LLP                                04
 ONE BRYANT PARK
 NEW YORK, NY 10036-6745
                                         20220609B6B7261F0038          06/09/2022                    Services                                                  $243,748.57
                                         21
                                         20220622B6B7261F0056          06/22/2022                    Services                                                  $278,658.98
                                         57

                                                                                                                                    SUBTOTAL                   $753,345.40
 AMSALEM TOURS & TRAVEL LTD              20220414B6B7261F0019          04/14/2022                    Suppliers or Vendors                                           $3,175.86
 HAPERAHIM 3 ST.                         33
 TIBERIAS, 1421003
 ISRAEL
                                         20220505B6B7261F0020          05/05/2022                    Suppliers or Vendors                                       $15,298.46
                                         13
                                         20220602B6B7261F0030          06/02/2022                    Suppliers or Vendors                                       $30,284.00
                                         13
                                                                                                                                    SUBTOTAL                    $48,758.32
 ANDERSEN LLP                            P22062701 - 3159085           06/28/2022                    Suppliers or Vendors                                       $93,414.36
 80 COLEMAN STREET
 LONDON, EC2R 5BJ
 UNITED KINGDOM

                                                                                                                                    SUBTOTAL                    $93,414.36
 BARRY, OGILVY DAVID                     20220421B6B7261F0037          04/21/2022                    Suppliers or Vendors                                       $17,500.00
 ADDRESS REDACTED                        68
                                         20220505B6B7261F0020          05/05/2022                    Suppliers or Vendors                                       $12,543.00
                                         48
                                         20220519B6B7261F0016          05/19/2022                    Suppliers or Vendors                                           $8,750.00
                                         08
                                         20220616B6B7261F0062          06/16/2022                    Suppliers or Vendors                                           $8,750.00
                                         88
                                         20220621B6B7261F0073          06/21/2022                    Suppliers or Vendors                                       $12,702.00
                                         91
                                         20220712B6B7261F0057          07/12/2022                    Suppliers or Vendors                                           $9,183.00
                                         54


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                                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


                                       SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case



 Creditor Name & Address                 Check or Wire                 Payment Date                  Reason For Payment                        Amount Paid
                                         Number

                                                                                                                                    SUBTOTAL                     $69,428.00
 BITFINEX                                20220524B6B7261F0047          05/24/2022                    Suppliers or Vendors                                    $10,000,000.00
 NO. 1, SECTION 1                        17
 WENHUA ROAD
 BANQIAO DISTRICT
 NEW TAIPEI CITY, 220
 TAIWAN

                                                                                                                                    SUBTOTAL                 $10,000,000.00
 BITVAULT, INC. DBA GEM                  20220428B6B7261F0035          04/28/2022                    Suppliers or Vendors                                      $120,258.22
 340 S LEMON AVE #9911                   04
 WALNUT, CA 91789
                                                                                                                                    SUBTOTAL                    $120,258.22
 BLACKPEAK INC                           20220414B6B7261F0018          04/14/2022                    Services                                                   $12,000.00
 1345 AVENUE OF THE AMERICAS             89
 49TH FLOOR
 NEW YORK, NY 10105
                                         P22052701 - 5382411           05/31/2022                    Suppliers or Vendors                                           $7,500.00

                                                                                                                                    SUBTOTAL                     $19,500.00
 BLUE EDGE BULGARIA EOOD                 20220505B6B7261F0020          05/05/2022                    Suppliers or Vendors                                       $15,910.00
 STRELBISHTE, BL. 98 , ENTR. B,          20
 FLOOR 5
 AP. 52
 SOFIA, 1404
 BULGARIA
                                         20220602B6B7261F0030          06/02/2022                    Suppliers or Vendors                                       $16,667.00
                                         07
                                         20220708B6B7261F0061          07/08/2022                    Suppliers or Vendors                                       $16,851.17
                                         06
                                                                                                                                    SUBTOTAL                     $49,428.17
 BOWELL, REUBEN                          P22041301 - 3236986           04/14/2022                    Suppliers or Vendors                                           $2,686.00
 ADDRESS REDACTED
                                         P22042801 - 7233557           04/29/2022                    Suppliers or Vendors                                           $2,553.77
                                         P22051801 - 2733200           05/19/2022                    Suppliers or Vendors                                           $2,526.87
                                         P22060301 - 7103285           06/06/2022                    Suppliers or Vendors                                           $2,616.85
                                         P22060801 - 8270421           06/09/2022                    Suppliers or Vendors                                           $2,603.22
                                         P22063001 - 4269869           07/01/2022                    Suppliers or Vendors                                           $2,494.74
                                         P22070801 - 6200545           07/11/2022                    Suppliers or Vendors                                           $2,470.24

                                                                                                                                    SUBTOTAL                     $17,951.69
 CHAINALYSIS, INC.                       20220421B6B7261F0035          04/21/2022                    Suppliers or Vendors                                           $1,099.00
 228 PARK AVE                            93
 S 23474
 NEW YORK, NY 10003
                                         20220712B6B7261F0056          07/12/2022                    Suppliers or Vendors                                       $63,500.00
                                         38

                                                                                                                                    SUBTOTAL                     $64,599.00
 CHING, LAM WAI                          P22050401 - 8833797           05/05/2022                    Suppliers or Vendors                                           $6,609.00
 ADDRESS REDACTED
                                         P22060101 - 6285315           06/02/2022                    Suppliers or Vendors                                           $6,610.32
                                         P22070801 - 6200538           07/11/2022                    Suppliers or Vendors                                           $6,608.86

                                                                                                                                    SUBTOTAL                     $19,828.18
 CMS CMNO LLP                            P22050401 - 8833793           05/05/2022                    Suppliers or Vendors                                       $14,881.76
 78 CANNON STREET
 LONDON, EC4N 6AF
 UNITED KINGDOM


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                                       SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case



 Creditor Name & Address                 Check or Wire                 Payment Date                  Reason For Payment                        Amount Paid
                                         Number

                                         P22051901 - 2995356           05/20/2022                    Suppliers or Vendors                                           $6,529.47

                                                                                                                                    SUBTOTAL                    $21,411.23
 COINROUTES INC                          20220526B6B7261F0017          05/26/2022                    Suppliers or Vendors                                       $35,076.90
 848 BRICKELL AVE                        53
 PH 5
 MIAMI, FL 33131
                                         20220712B6B7261F0056          07/12/2022                    Suppliers or Vendors                                      $253,370.89
                                         30
                                                                                                                                    SUBTOTAL                   $288,447.79
 COLEMAN, BRADLEY K                      P22042001 - 5039164           04/21/2022                    Suppliers or Vendors                                           $5,977.83
 ADDRESS REDACTED
                                         P22050401 - 8833791           05/05/2022                    Suppliers or Vendors                                           $5,741.45
                                         P22051101 - 0845711           05/12/2022                    Suppliers or Vendors                                           $5,584.66
                                         P22052501 - 4613420           05/26/2022                    Suppliers or Vendors                                           $5,668.88
                                         P22060301 - 7103290           06/06/2022                    Suppliers or Vendors                                           $8,724.22
                                         P22061501 - 0198192           06/16/2022                    Suppliers or Vendors                                           $5,579.38
                                         P22063001 - 4269659           07/01/2022                    Suppliers or Vendors                                           $5,544.99

                                                                                                                                    SUBTOTAL                    $42,821.41
 COMPLIANCE RISK CONCEPTS                20220428B6B7261F0034          04/28/2022                    Services                                                  $190,000.00
 LLC                                     81
 40 EXCHANGE PLACE
 SUITE 402
 NEW YORK, NY 10005
                                         20220602B6B7261F0029          06/02/2022                    Services                                                   $50,000.00
                                         36

                                                                                                                                    SUBTOTAL                   $240,000.00
 CREDITOR GROUP CORP.                    20220505B6B7261F0020          05/05/2022                    Services                                                   $30,000.00
 1693 65TH STREET                        14
 D7
 NEW YORK, NY 11204
                                         20220609B6B7261F0020          06/09/2022                    Services                                                   $30,000.00
                                         41
                                         20220712B6B7261F0057          07/12/2022                    Services                                                   $30,000.00
                                         55
                                                                                                                                    SUBTOTAL                    $90,000.00
 CUMBERLAND DRW LLC                      0020220521140542054           05/25/2022                    Other- Lending                                          $1,150,000.00
 ADDRESS REDACTED
                                         0020220521141562807           06/02/2022                    Other- Lending                                            $115,000.00

                                                                                                                                    SUBTOTAL                 $1,265,000.00
 CYESEC LTD.                             20220519B6B7261F0020          05/19/2022                    Suppliers or Vendors                                       $77,220.00
 10 ABBA EBAN                            76
 HERZLIYA,
 ISRAEL
                                                                                                                                    SUBTOTAL                    $77,220.00
 DE BARROS GOMES, RITA                   P22042701 - 6892639           04/28/2022                    Suppliers or Vendors                                           $3,180.89
 ADDRESS REDACTED
                                         P22052501 - 4613450           05/26/2022                    Suppliers or Vendors                                           $3,211.61
                                         P22063001 - 4269873           07/01/2022                    Suppliers or Vendors                                           $3,160.42

                                                                                                                                    SUBTOTAL                        $9,552.92
 DEBAK, ANTUN                            20220606B6B7261F0024          06/06/2022                    Services                                                  $250,000.00
 ADDRESS REDACTED                        36
                                                                                                                                    SUBTOTAL                   $250,000.00



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 Creditor Name & Address                 Check or Wire                 Payment Date                  Reason For Payment                        Amount Paid
                                         Number

 DEZENHALL RESOURCES, LTD.               20220630B6B7261F0101          06/30/2022                    Suppliers or Vendors                                       $25,000.00
 1201 CONNECTICUT AVE NW                 88
 SUITE 600
 WASHINGTON, DC 20036
                                                                                                                                    SUBTOTAL                    $25,000.00
 DOIT INTERNATIONAL UK AND I             P22042001 - 5039169           04/21/2022                    Suppliers or Vendors                                       $37,289.93
 LTD
 C/O FKGB, 2ND FLOOR, 201
 HAVERSTOCK ROAD
 HAVERSTOCK HILL, NW3 4QG
 UNITED KINGDOM
                                         P22051201 - 1093563           05/13/2022                    Suppliers or Vendors                                      $118,106.43
                                         P22052501 - 4613416           05/26/2022                    Suppliers or Vendors                                      $213,289.20
                                         P22070501 - 4949955           07/06/2022                    Suppliers or Vendors                                      $165,949.61

                                                                                                                                    SUBTOTAL                   $534,635.17
 ED&F MAN CAPITAL MARKETS,               20220617B6B7261F0062          06/17/2022                    Other- Lending                                            $200,000.00
 INC.                                    49
 ATTN: ED OBRIEN, SVP
 FUTURES & OPTIONS
 425 S FINANCIAL PLACE
 SUITE 1850
 CHICAGO, IL 60605

                                                                                                                                    SUBTOTAL                   $200,000.00
 FLONIGHTS LIMITED                       P22051101 - 0845713           05/12/2022                    Suppliers or Vendors                                       $14,661.12
 102 LEE HIGH ROAD
 CHATHAM, SE13 5PT
 UNITED KINGDOM
                                         P22060101 - 6285307           06/02/2022                    Suppliers or Vendors                                       $14,070.10
                                         P22070801 - 6200520           07/11/2022                    Suppliers or Vendors                                       $15,941.98

                                                                                                                                    SUBTOTAL                    $44,673.20
 GARZA, DAVID                            P22042701 - 6892613           04/28/2022                    Suppliers or Vendors                                           $4,947.99
 ADDRESS REDACTED
                                         P22063001 - 4269662           07/01/2022                    Suppliers or Vendors                                           $4,916.15

                                                                                                                                    SUBTOTAL                        $9,864.14
 GAVRILOVIĆ, NIKOLA                      20220607B6B7261F0012          06/07/2022                    Services                                                  $375,000.00
 ADDRESS REDACTED                        98
                                                                                                                                    SUBTOTAL                   $375,000.00
 HEDGEGUARD                              20220516B6B7261F0072          05/16/2022                    Suppliers or Vendors                                      $185,800.00
 42 RUE DE CLICHY                        43
 PARIS, 75009
 FRANCE

                                                                                                                                    SUBTOTAL                   $185,800.00
 HELPSYSTEMS                             20220602B6B7261F0029          06/02/2022                    Suppliers or Vendors                                       $24,720.00
 11095 VIKING DRIVE                      37
 SUITE 100
 EDEN PRAIRIE, MN 55344
                                                                                                                                    SUBTOTAL                    $24,720.00
 HOLLEY NETHERCOTE PTY LTD               P22052701 - 5382413           05/31/2022                    Suppliers or Vendors                                           $6,081.66
 140 WILLIAM STREET
 LEVEL 22
 VIC
 MELBOURNE, 3000
 AUSTRALIA
                                         P22060801 - 8270391           06/09/2022                    Suppliers or Vendors                                           $5,189.33

                                                                                                                                    SUBTOTAL                    $11,270.99


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 Creditor Name & Address                 Check or Wire                 Payment Date                  Reason For Payment                        Amount Paid
                                         Number

 ILIESCU, ALEXANDRU                      20220428B6B7261F0040          04/28/2022                    Services                                                       $1,230.00
 ADDRESS REDACTED                        39
                                         20220512B6B7261F0032          05/12/2022                    Services                                                       $1,215.00
                                         16
                                         20220519B6B7261F0016          05/19/2022                    Services                                                       $1,215.00
                                         59
                                         20220602B6B7261F0032          06/02/2022                    Services                                                       $1,215.00
                                         14
                                         20220617B6B7261F0053          06/17/2022                    Services                                                       $1,215.00
                                         23
                                         20220630B6B7261F0102          06/30/2022                    Services                                                       $1,215.00
                                         19
                                         20220712B6B7261F0058          07/12/2022                    Services                                                       $1,215.00
                                         18
                                                                                                                                    SUBTOTAL                        $8,520.00
 KAIRON LABS BV                          20220505B6B7261F0020          05/05/2022                    Suppliers or Vendors                                       $12,666.67
 320 PUURSESTEENWEG                      07
 BORNEM, 2880
 BELGIUM
                                         20220602B6B7261F0030          06/02/2022                    Suppliers or Vendors                                       $12,000.00
                                         11
                                                                                                                                    SUBTOTAL                    $24,666.67
 KROLL ADVISORY LTD                      P22050501 - 9118486           05/06/2022                    Suppliers or Vendors                                       $40,051.76
 32 LONDON BRIDGE STREET
 LONDON, SE1 9SG
 UNITED KINGDOM

                                                                                                                                    SUBTOTAL                    $40,051.76
 LATHAM & WATKINS LLP                    20220617B6B7261F0034          06/17/2022                    Services                                                $1,378,415.78
 1271 AVENUE OF THE AMERICAS             00
 NEW YORK, NY 10020

                                                                                                                                    SUBTOTAL                 $1,378,415.78
 LATHAM & WATKINS LLP                    20220622B6B7261F0064          06/22/2022                    Services                                                  $750,000.00
 99 BISHOPSGATE                          34
 LONDON, EC2M 3XF
 UNITED KINGDOM
                                         20220627B6B7261F0066          06/27/2022                    Services                                                  $600,000.00
                                         84
                                         20220711B6B7261F0068          07/11/2022                    Services                                                  $253,745.64
                                         24
                                         20220713B6B7261F0040          07/13/2022                    Services                                                  $599,254.36
                                         62
                                                                                                                                    SUBTOTAL                 $2,203,000.00
 LAU, WEYNE                              P22050401 - 8834412           05/05/2022                    Suppliers or Vendors                                           $8,767.75
 ADDRESS REDACTED
                                         P22052501 - 4613454           05/26/2022                    Suppliers or Vendors                                           $1,064.45
                                         P22060101 - 6285342           06/02/2022                    Suppliers or Vendors                                           $8,786.28
                                         P22063001 - 4269650           07/01/2022                    Suppliers or Vendors                                           $8,716.20

                                                                                                                                    SUBTOTAL                    $27,334.68
 LINUS FINANCIAL                         20220520B6B7261F0061          05/20/2022                    Suppliers or Vendors                                    $1,316,940.31
 1313 5TH AVE NORTH                      97
 SUITE 3
 NASHVILLE, TN 37208
                                                                                                                                    SUBTOTAL                 $1,316,940.31
 MAK, OLEENA                             P22042001 - 5039570           04/21/2022                    Suppliers or Vendors                                           $7,199.91
 ADDRESS REDACTED
                                         P22060101 - 6285326           06/02/2022                    Suppliers or Vendors                                           $7,118.73


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 Creditor Name & Address                 Check or Wire                 Payment Date                  Reason For Payment                        Amount Paid
                                         Number

                                         P22063001 - 4269864           07/01/2022                    Suppliers or Vendors                                           $6,994.60

                                                                                                                                    SUBTOTAL                    $21,313.24
 MAZARS LLP                              P22052501 - 4613435           05/26/2022                    Suppliers or Vendors                                       $12,622.04
 TOWER BRIDGE HOUSE, ST
 KATHARINE’S WAY
 LONDON, E1W 1DD
 UNITED KINGDOM
                                         P22060101 - 6285321           06/02/2022                    Suppliers or Vendors                                       $25,061.30
                                         P22062701 - 3159092           06/28/2022                    Suppliers or Vendors                                           $7,986.04

                                                                                                                                    SUBTOTAL                    $45,669.38
 MCDONALD, TRACEY                        P22050401 - 8834407           05/05/2022                    Suppliers or Vendors                                       $11,091.77
 ADDRESS REDACTED

                                                                                                                                    SUBTOTAL                    $11,091.77
 MIXPANEL INC.                           20220428B6B7261F0034          04/28/2022                    Suppliers or Vendors                                       $39,944.50
 ONE FRONT STREET, 28TH                  83
 FLOOR
 SAN FRANCISCO, CA 94111

                                                                                                                                    SUBTOTAL                    $39,944.50
 NICE SYSTEMS UK LIMITED                 20220421B6B7261F0049          04/21/2022                    Suppliers or Vendors                                      $341,748.00
 TOLLBAR WAY                             51
 HEDGE END
 SOUTHAMPTON, SO30 2ZP
 UNITED KINGDOM
                                         P22051801 - 2733185           05/19/2022                    Suppliers or Vendors                                           $6,034.89
                                         P22052501 - 4613442           05/26/2022                    Suppliers or Vendors                                           $3,386.93
                                         20220602B6B7261F0037          06/02/2022                    Suppliers or Vendors                                       $21,600.00
                                         44

                                                                                                                                    SUBTOTAL                   $372,769.82
 NYMAN LIBSON PAUL LLP                   P22062901 - 3819929           06/30/2022                    Suppliers or Vendors                                       $96,786.65
 124 FINCHLEY ROAD
 LONDON, NW3 5JS
 UNITED KINGDOM
                                                                                                                                    SUBTOTAL                    $96,786.65
 OFFORD, SCOTT                           P22041301 - 3236992           04/14/2022                    Suppliers or Vendors                                           $8,618.20
 ADDRESS REDACTED
                                         P22050401 - 8834421           05/05/2022                    Suppliers or Vendors                                           $8,583.85
                                         P22051101 - 0845717           05/12/2022                    Suppliers or Vendors                                           $8,523.32
                                         P22061001 - 9057913           06/13/2022                    Suppliers or Vendors                                           $6,772.44
                                         P22061501 - 0198200           06/16/2022                    Suppliers or Vendors                                           $6,512.97
                                         P22062701 - 3159107           06/28/2022                    Suppliers or Vendors                                           $6,773.97
                                         P22070801 - 6200554           07/11/2022                    Suppliers or Vendors                                           $6,556.98

                                                                                                                                    SUBTOTAL                    $52,341.73
 OPTIMIZELY, INC.                        20220421B6B7261F0035          04/21/2022                    Suppliers or Vendors                                      $119,606.68
 PO BOX 92504                            92
 LAS VEGAS, NV 89193-2504
                                                                                                                                    SUBTOTAL                   $119,606.68
 PANORAYS LTD.                           20220630B6B7261F0102          06/30/2022                    Suppliers or Vendors                                       $29,000.00
 AMINADAV 3                              61
 TEL AVIV,
 ISRAEL
                                                                                                                                    SUBTOTAL                    $29,000.00




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                                       SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case



 Creditor Name & Address                 Check or Wire                 Payment Date                  Reason For Payment                        Amount Paid
                                         Number

 PAUL HASTINGS LLP                       20220712B6B7261F0060          07/12/2022                    Services                                                  $750,000.00
 515 SOUTH FLOWER STREET                 20
 TWENTY-FIFTH FLOOR
 LOS ANGELES, CA 90071
                                                                                                                                    SUBTOTAL                   $750,000.00
 PAYPLUS LTD                             P22041901 - 4680796           04/20/2022                    Suppliers or Vendors                                      $600,973.94
 1 AMOR WAY
 LETCHWORTH
 HERTS
 GARDEN CITY, SG6 1UG
 UNITED KINGDOM
                                         P22042701 - 6892620           04/28/2022                    Suppliers or Vendors                                            $334.28
                                         P22051001 - 0418603           05/11/2022                    Suppliers or Vendors                                           $3,852.87
                                         P22051901 - 2992738           05/20/2022                    Suppliers or Vendors                                      $497,877.33
                                         P22062301 - 2391888           06/24/2022                    Suppliers or Vendors                                      $481,255.94
                                         P22062701 - 3159094           06/28/2022                    Suppliers or Vendors                                            $564.04

                                                                                                                                    SUBTOTAL                 $1,584,858.40
 PAYWARD TRADING LTD.                    20220426B6B7261F0026          04/26/2022                    Suppliers or Vendors                                            $100.00
 237 KEARNY ST                           25
 SUITE 102
 SAN FRANCISCO, CA 94108
                                         20220426B6B7261F0037          04/26/2022                    Suppliers or Vendors                                    $1,000,000.00
                                         28

                                                                                                                                    SUBTOTAL                 $1,000,100.00
 PRESCIENT COMPLY, LLC                   20220414B6B7261F0018          04/14/2022                    Suppliers or Vendors                                       $35,662.50
 180 N. STETSON AVE #2625                96
 CHICAGO, IL 60601
                                         20220505B6B7261F0019          05/05/2022                    Suppliers or Vendors                                       $61,596.59
                                         29
                                         20220526B6B7261F0017          05/26/2022                    Suppliers or Vendors                                       $51,120.56
                                         55
                                         20220617B6B7261F0047          06/17/2022                    Suppliers or Vendors                                       $21,000.00
                                         23

                                                                                                                                    SUBTOTAL                   $169,379.65
 PUŠONJA, MALIŠA                         20220603B6B7261F0075          06/03/2022                    Services                                                  $375,000.00
 ADDRESS REDACTED                        32
                                                                                                                                    SUBTOTAL                   $375,000.00
 REDK CRM SOLUTIONS LTD                  P22051201 - 1084344           05/13/2022                    Suppliers or Vendors                                       $14,503.59
 71 QUEEN VICTORIA STREET
 LONDON, EC4V 4BE
 UNITED KINGDOM
                                         P22060801 - 8270415           06/09/2022                    Suppliers or Vendors                                       $19,599.11

                                                                                                                                    SUBTOTAL                    $34,102.70
 ROGUE MARKETS                           P22042701 - 6892648           04/28/2022                    Suppliers or Vendors                                       $13,976.46
 KALAMUNDA WESTERN
 KALAMUNDA, 6076
 AUSTRALIA
                                         P22051101 - 0845715           05/12/2022                    Suppliers or Vendors                                       $20,829.74
                                         P22061001 - 9057911           06/13/2022                    Suppliers or Vendors                                       $13,988.91
                                         P22070601 - 5394827           07/07/2022                    Suppliers or Vendors                                           $9,707.86

                                                                                                                                    SUBTOTAL                    $58,502.97
 SAWHNEY, RAJIV                          P22042701 - 6892627           04/28/2022                    Suppliers or Vendors                                       $18,034.44
 ADDRESS REDACTED
                                         P22052501 - 4613446           05/26/2022                    Suppliers or Vendors                                       $22,177.37


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                                       SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case



 Creditor Name & Address                 Check or Wire                 Payment Date                  Reason For Payment                        Amount Paid
                                         Number

                                         P22062701 - 3159097           06/28/2022                    Suppliers or Vendors                                       $17,046.72

                                                                                                                                    SUBTOTAL                    $57,258.53
 SHARMA, BHARTI                          P22042001 - 5039160           04/21/2022                    Suppliers or Vendors                                           $7,268.75
 ADDRESS REDACTED
                                         P22050401 - 8833787           05/05/2022                    Suppliers or Vendors                                           $6,130.22
                                         P22051801 - 2733192           05/19/2022                    Suppliers or Vendors                                           $6,464.43
                                         P22060101 - 6285298           06/02/2022                    Suppliers or Vendors                                           $6,627.42
                                         P22061501 - 0198184           06/16/2022                    Suppliers or Vendors                                           $5,989.28
                                         P22070101 - 4562092           07/05/2022                    Suppliers or Vendors                                           $5,821.05

                                                                                                                                    SUBTOTAL                    $38,301.15
 SHOOTSTA LTD                            20220512B6B7261F0016          05/12/2022                    Suppliers or Vendors                                       $21,780.00
 15 MOHAMED SULTAN ROAD                  80
 #03-00
 SINGAPORE, 238964
 SINGAPORE

                                                                                                                                    SUBTOTAL                    $21,780.00
 SIGNATURE BANK                          1128441504549778              04/29/2022                    Suppliers or Vendors                                           $1,894.95
 ATTN: DAVID D’AMICO, GROUP
 DIRECTOR
 565 FIFTH AVE
 NEW YORK, NY 10017
                                         1128451504549778              04/29/2022                    Suppliers or Vendors                                           $4,557.00
                                         1128461504549778              04/29/2022                    Suppliers or Vendors                                           $5,954.92
                                         1128471504549778              04/29/2022                    Suppliers or Vendors                                            $103.33
                                         1128511504549778              04/29/2022                    Suppliers or Vendors                                           $1,979.98
                                         1145081504370999              05/19/2022                    Suppliers or Vendors                                           $3,720.41
                                         1149581504549778              05/25/2022                    Suppliers or Vendors                                           $1,884.23
                                         1149591504549778              05/25/2022                    Suppliers or Vendors                                           $1,939.02
                                         1154761504370999              06/01/2022                    Suppliers or Vendors                                           $3,967.56
                                         1159481503222589              06/08/2022                    Suppliers or Vendors                                      $145,228.15
                                         1159501503222589              06/08/2022                    Suppliers or Vendors                                       $45,487.13
                                         1159511503222589              06/08/2022                    Suppliers or Vendors                                       $29,371.41
                                         1159491503222589              06/09/2022                    Suppliers or Vendors                                       $67,816.01
                                         1161431503222589              06/09/2022                    Suppliers or Vendors                                       $99,981.45
                                         1167481504549778              06/16/2022                    Suppliers or Vendors                                           $3,632.33
                                         117751 1504549778             06/28/2022                    Suppliers or Vendors                                      $220,230.00
                                         1180301504549778              07/01/2022                    Suppliers or Vendors                                           $1,715.26
                                         1180731504549778              07/01/2022                    Suppliers or Vendors                                           $1,619.97
                                         1181721504549778              07/01/2022                    Suppliers or Vendors                                           $3,608.71
                                         1181731504549778              07/01/2022                    Suppliers or Vendors                                           $9,334.00

                                                                                                                                    SUBTOTAL                   $654,025.82
 SOLOMON, LEVI                           P22042001 - 5039567           04/21/2022                    Suppliers or Vendors                                           $5,891.52
 ADDRESS REDACTED
                                         P22050401 - 8833801           05/05/2022                    Suppliers or Vendors                                           $2,829.27
                                         P22051801 - 2733198           05/19/2022                    Suppliers or Vendors                                           $2,767.65
                                         P22052501 - 4613425           05/26/2022                    Suppliers or Vendors                                           $2,793.51
                                         P22061501 - 0198198           06/16/2022                    Suppliers or Vendors                                           $2,749.41
                                         P22063001 - 4269859           07/01/2022                    Suppliers or Vendors                                           $2,732.46


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                                       SOFA Question 3: Certain payments or transfers to creditors within 90 days before filing this case



 Creditor Name & Address                 Check or Wire                 Payment Date                  Reason For Payment                        Amount Paid
                                         Number

                                                                                                                                    SUBTOTAL                    $19,763.82
 SOVOS COMPLIANCE LLC                    20220428B6B7261F0039          04/28/2022                    Suppliers or Vendors                                       $50,593.24
 200 BALLARDVALE ST                      79
 BUILDING 1, 4TH FLOOR
 WILMINGTON, MA 01887

                                                                                                                                    SUBTOTAL                    $50,593.24
 TAYLOR WESSING LLP                      P22041301 - 3236998           04/14/2022                    Suppliers or Vendors                                       $64,430.88
 5 NEW STREET SQUARE
 LONDON, EC4A 3TW
 UNITED KINGDOM
                                         P22051101 - 0845719           05/12/2022                    Suppliers or Vendors                                           $5,497.26
                                         P22051901 - 2995358           05/20/2022                    Suppliers or Vendors                                           $1,341.57
                                         P22062701 - 3159114           06/28/2022                    Suppliers or Vendors                                       $13,669.81
                                         P22070801 - 6200571           07/11/2022                    Suppliers or Vendors                                       $46,535.39

                                                                                                                                    SUBTOTAL                   $131,474.91
 THE BLOCK CRYPTO, INC                   20220526B6B7261F0017          05/26/2022                    Services                                                   $40,000.00
 45 BOND STREET                          54
 NEW YORK, NY 10012

                                                                                                                                    SUBTOTAL                    $40,000.00
 VAN DEN EEDE, JELLE                     P22042001 - 5039183           04/21/2022                    Suppliers or Vendors                                       $26,369.88
 ADDRESS REDACTED
                                         P22051801 - 2733196           05/19/2022                    Suppliers or Vendors                                           $9,047.48
                                         P22061501 - 0198196           06/16/2022                    Suppliers or Vendors                                       $26,155.55
                                         P22070801 - 6200528           07/11/2022                    Suppliers or Vendors                                           $8,754.78

                                                                                                                                    SUBTOTAL                    $70,327.69
 WHITE & CASE LLP                        20220712B6B7261F0056          07/12/2022                    Services                                                   $32,104.80
 1221 AVENUE OF THE AMERICAS             99
 NEW YORK, NY 10020

                                                                                                                                    SUBTOTAL                    $32,104.80
 WILLIS TOWERS WATSON                    20220421B6B7261F0049          04/21/2022                    Services                                                   $33,703.20
 51 LIME STREET                          53
 LONDON, EC3M 7DQ
 UNITED KINGDOM
                                                                                                                                    SUBTOTAL                    $33,703.20
 XU, TIANYANG                            20220505B6B7261F0021          05/05/2022                    Services                                                       $8,333.33
 ADDRESS REDACTED                        48
                                         20220602B6B7261F0031          06/02/2022                    Services                                                       $8,333.33
                                         54
                                         20220701B6B7261F0088          07/01/2022                    Services                                                       $8,333.33
                                         96
                                                                                                                                    SUBTOTAL                    $24,999.99
 ZURAZ97 LIMITED                         20220505B6B7261F0027          05/05/2022                    Suppliers or Vendors                                       $27,000.00
 RITZ PLAZA, 122 AUSTIN ROAD             21
 SUITE A, 6/F
 TSIMSHATSUI,
 HONG KONG
                                                                                                                                    SUBTOTAL                    $27,000.00




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Debtor Name: Celsius Network Limited                                                                                                                           Case Number: 22‐10966
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                          Part 2, Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider


                                                                                                                                                                Net Monthly Activity
               Debtor                                  Trading Partner                            Month          Beginning Balance       Ending Balance        Receivable / (Payable)
Celsius Network Limited           Celsius Network Inc                                      June‐21                                            $52,685,175.79     $       52,685,175.79
Celsius Network Limited           Celsius Network Inc                                      July‐21                     $52,685,175.79         $56,796,787.30     $        4,111,611.51
Celsius Network Limited           Celsius Network Inc                                      August‐21                   $56,796,787.30         $65,095,129.26     $        8,298,341.96
Celsius Network Limited           Celsius Network Inc                                      September‐21                $65,095,129.26           ‐$917,717.05     $      (66,012,846.31)
Celsius Network Limited           Celsius Network Inc                                      October‐21                    ‐$917,717.05          $1,230,838.00     $        2,148,555.05
Celsius Network Limited           Celsius Network Inc                                      November‐21                  $1,230,838.00          $3,246,920.69     $        2,016,082.69
Celsius Network Limited           Celsius Network Inc                                      December‐21                  $3,246,920.69         $14,522,940.51     $       11,276,019.82
Celsius Network Limited           Celsius Network Inc                                      January‐22                  $14,522,940.51         $15,072,940.51     $          550,000.00
Celsius Network Limited           Celsius Network Inc                                      February‐22                 $15,072,940.51         $15,172,940.51     $          100,000.00
Celsius Network Limited           Celsius Network Inc                                      March‐22                    $15,172,940.51         $15,172,940.51     $                 ‐
Celsius Network Limited           Celsius Network Inc                                      April‐22                    $15,172,940.51         $15,172,940.51     $                 ‐
Celsius Network Limited           Celsius Network Inc                                      May‐22                      $15,172,940.51         $15,172,940.51     $                 ‐
Celsius Network Limited           Celsius Network Inc                                      June‐22                     $15,172,940.51         $15,972,940.51     $          800,000.00
Celsius Network Limited           Celsius Network Inc                                      7/13/2022                   $15,972,940.51         $25,072,940.51     $        9,100,000.00
Celsius Network Limited           Celsius Network Ltd (ISR)                                June‐21                                             $5,367,434.00     $        5,367,434.00
Celsius Network Limited           Celsius Network Ltd (ISR)                                July‐21                     $5,367,434.00           $5,047,836.00     $         (319,598.00)
Celsius Network Limited           Celsius Network Ltd (ISR)                                August‐21                   $5,047,836.00           $4,766,660.00     $         (281,176.00)
Celsius Network Limited           Celsius Network Ltd (ISR)                                September‐21                $4,766,660.00           $4,900,260.00     $          133,600.00
Celsius Network Limited           Celsius Network Ltd (ISR)                                October‐21                  $4,900,260.00           $4,567,441.72     $         (332,818.28)
Celsius Network Limited           Celsius Network Ltd (ISR)                                November‐21                 $4,567,441.72        $106,635,342.70      $      102,067,900.98
Celsius Network Limited           Celsius Network Ltd (ISR)                                December‐21               $106,635,342.70          $93,850,625.70     $      (12,784,717.00)
Celsius Network Limited           Celsius Network Ltd (ISR)                                January‐22                 $93,850,625.70          $93,473,537.70     $         (377,088.00)
Celsius Network Limited           Celsius Network Ltd (ISR)                                February‐22                $93,473,537.70          $96,707,022.70     $        3,233,485.00
Celsius Network Limited           Celsius Network Ltd (ISR)                                March‐22                   $96,707,022.70          $97,827,191.70     $        1,120,169.00
Celsius Network Limited           Celsius Network Ltd (ISR)                                April‐22                   $97,827,191.70          $96,618,563.70     $       (1,208,628.00)
Celsius Network Limited           Celsius Network Ltd (ISR)                                May‐22                     $96,618,563.70          $96,890,826.30     $          272,262.60
Celsius Network Limited           Celsius Network Ltd (ISR)                                June‐22                    $96,890,826.30          $99,327,191.70     $        2,436,365.40
Celsius Network Limited           Celsius Network Ltd (ISR)                                7/13/2022                  $99,327,191.70          $99,327,191.70     $                 ‐
Celsius Network Limited           Celsius Network Lending LLC                              June‐21                                        ‐$1,097,041,449.42     $   (1,097,041,449.42)
Celsius Network Limited           Celsius Network Lending LLC                              July‐21                 ‐$1,097,041,449.42     ‐$1,091,314,089.53     $        5,727,359.89
Celsius Network Limited           Celsius Network Lending LLC                              August‐21               ‐$1,091,314,089.53     ‐$1,076,056,500.31     $       15,257,589.22
Celsius Network Limited           Celsius Network Lending LLC                              September‐21            ‐$1,076,056,500.31     ‐$1,043,062,395.01     $       32,994,105.30
Celsius Network Limited           Celsius Network Lending LLC                              October‐21              ‐$1,043,062,395.01     ‐$1,025,187,999.72     $       17,874,395.29
Celsius Network Limited           Celsius Network Lending LLC                              November‐21             ‐$1,025,187,999.72     ‐$1,025,187,999.72     $                 ‐
Celsius Network Limited           Celsius Network Lending LLC                              December‐21             ‐$1,025,187,999.72     ‐$1,006,222,457.47     $       18,965,542.25
Celsius Network Limited           Celsius Network Lending LLC                              January‐22              ‐$1,006,222,457.47     ‐$1,006,223,686.90     $           (1,229.43)
Celsius Network Limited           Celsius Network Lending LLC                              February‐22             ‐$1,006,223,686.90     ‐$1,006,223,686.90     $                 ‐
Celsius Network Limited           Celsius Network Lending LLC                              March‐22                ‐$1,006,223,686.90     ‐$1,006,223,686.90     $                 ‐
Celsius Network Limited           Celsius Network Lending LLC                              April‐22                ‐$1,006,223,686.90     ‐$1,006,223,686.90     $                 ‐
Celsius Network Limited           Celsius Network Lending LLC                              May‐22                  ‐$1,006,223,686.90     ‐$1,006,223,686.90     $                 ‐
Celsius Network Limited           Celsius Network Lending LLC                              June‐22                 ‐$1,006,223,686.90     ‐$1,006,223,686.90     $                 ‐
Celsius Network Limited           Celsius Network Lending LLC                              7/13/2022               ‐$1,006,223,686.90     ‐$1,006,223,686.90     $                 ‐
Celsius Network Limited           Celsius Mining LLC                                       June‐21                                          $205,982,984.24      $      205,982,984.24
Celsius Network Limited           Celsius Mining LLC                                       July‐21                   $205,982,984.24        $216,202,522.82      $       10,219,538.58
Celsius Network Limited           Celsius Mining LLC                                       August‐21                 $216,202,522.82        $326,204,962.90      $      110,002,440.08
Celsius Network Limited           Celsius Mining LLC                                       September‐21              $326,204,962.90        $263,763,089.02      $      (62,441,873.88)
Celsius Network Limited           Celsius Mining LLC                                       October‐21                $263,763,089.02        $312,569,853.29      $       48,806,764.27
Celsius Network Limited           Celsius Mining LLC                                       November‐21               $312,569,853.29        $355,305,014.75      $       42,735,161.46
Celsius Network Limited           Celsius Mining LLC                                       December‐21               $355,305,014.75        $388,122,780.47      $       32,817,765.72
Celsius Network Limited           Celsius Mining LLC                                       January‐22                $388,122,780.47        $430,461,308.38      $       42,338,527.91
Celsius Network Limited           Celsius Mining LLC                                       February‐22               $430,461,308.38        $497,196,793.62      $       66,735,485.24
Celsius Network Limited           Celsius Mining LLC                                       March‐22                  $497,196,793.62        $545,567,324.42      $       48,370,530.80
Celsius Network Limited           Celsius Mining LLC                                       April‐22                  $545,567,324.42        $555,664,305.98      $       10,096,981.56
Celsius Network Limited           Celsius Mining LLC                                       May‐22                    $555,664,305.98        $573,481,732.17      $       17,817,426.19
Celsius Network Limited           Celsius Mining LLC                                       June‐22                   $573,481,732.17        $579,229,941.88      $        5,748,209.71
Celsius Network Limited           Celsius Mining LLC                                       7/13/2022                 $579,229,941.88        $649,229,941.88      $       70,000,000.00




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Debtor Name: Celsius Network Limited                                                                                                                          Case Number: 22‐10966
                                                       Statement of Financial Affairs for Non‐Individuals Filing for Bankruptcy

                          Part 2, Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider


                                                                                                                                                               Net Monthly Activity
               Debtor                                  Trading Partner                             Month          Beginning Balance      Ending Balance       Receivable / (Payable)
Celsius Network Limited           Celsius Lending LLC                                      June‐21                                               $55,000.00     $           55,000.00
Celsius Network Limited           Celsius Lending LLC                                      July‐21                         $55,000.00            $55,000.00     $                 ‐
Celsius Network Limited           Celsius Lending LLC                                      August‐21                       $55,000.00            $55,000.00     $                 ‐
Celsius Network Limited           Celsius Lending LLC                                      September‐21                    $55,000.00            $55,000.00     $                 ‐
Celsius Network Limited           Celsius Lending LLC                                      October‐21                      $55,000.00        $47,148,709.02     $       47,093,709.02
Celsius Network Limited           Celsius Lending LLC                                      November‐21                 $47,148,709.02        $93,312,269.81     $       46,163,560.79
Celsius Network Limited           Celsius Lending LLC                                      December‐21                 $93,312,269.81       $159,938,402.23     $       66,626,132.42
Celsius Network Limited           Celsius Lending LLC                                      January‐22                 $159,938,402.23       $180,427,188.63     $       20,488,786.40
Celsius Network Limited           Celsius Lending LLC                                      February‐22                $180,427,188.63       $189,923,970.69     $        9,496,782.06
Celsius Network Limited           Celsius Lending LLC                                      March‐22                   $189,923,970.69       $215,989,145.30     $       26,065,174.61
Celsius Network Limited           Celsius Lending LLC                                      April‐22                   $215,989,145.30       $258,095,684.53     $       42,106,539.23
Celsius Network Limited           Celsius Lending LLC                                      May‐22                     $258,095,684.53       $246,138,905.04     $      (11,956,779.49)
Celsius Network Limited           Celsius Lending LLC                                      June‐22                    $246,138,905.04       $237,292,238.67     $       (8,846,666.37)
Celsius Network Limited           Celsius Lending LLC                                      7/13/2022                  $237,292,238.67       $237,292,238.67     $                 ‐
Celsius Network Limited           Celsius Services CY Ltd                                  June‐21                                             $676,635.68      $          676,635.68
Celsius Network Limited           Celsius Services CY Ltd                                  July‐21                       $676,635.68           $742,292.93      $           65,657.25
Celsius Network Limited           Celsius Services CY Ltd                                  August‐21                     $742,292.93           $894,553.69      $          152,260.76
Celsius Network Limited           Celsius Services CY Ltd                                  September‐21                  $894,553.69          $1,154,818.47     $          260,264.78
Celsius Network Limited           Celsius Services CY Ltd                                  October‐21                   $1,154,818.47         $1,441,634.79     $          286,816.32
Celsius Network Limited           Celsius Services CY Ltd                                  November‐21                  $1,441,634.79         $1,695,773.20     $          254,138.41
Celsius Network Limited           Celsius Services CY Ltd                                  December‐21                  $1,695,773.20           ‐$90,027.03     $       (1,785,800.23)
Celsius Network Limited           Celsius Services CY Ltd                                  January‐22                     ‐$90,027.03            $18,307.33     $          108,334.36
Celsius Network Limited           Celsius Services CY Ltd                                  February‐22                     $18,307.33          $344,119.96      $          325,812.63
Celsius Network Limited           Celsius Services CY Ltd                                  March‐22                      $344,119.96           $696,838.48      $          352,718.52
Celsius Network Limited           Celsius Services CY Ltd                                  April‐22                      $696,838.48           $915,931.82      $          219,093.34
Celsius Network Limited           Celsius Services CY Ltd                                  May‐22                        $915,931.82          $1,124,892.28     $          208,960.46
Celsius Network Limited           Celsius Services CY Ltd                                  June‐22                      $1,124,892.28         $1,151,143.44     $           26,251.16
Celsius Network Limited           Celsius Services CY Ltd                                  7/13/2022                    $1,151,143.44         $1,322,481.67     $          171,338.23
Celsius Network Limited           Celsius Network Europe                                   June‐21                                                $3,202.56     $            3,202.56
Celsius Network Limited           Celsius Network Europe                                   July‐21                          $3,202.56          $960,227.24      $          957,024.68
Celsius Network Limited           Celsius Network Europe                                   August‐21                     $960,227.24          $1,735,227.24     $          775,000.00
Celsius Network Limited           Celsius Network Europe                                   September‐21                 $1,735,227.24         $1,735,227.24     $                 ‐
Celsius Network Limited           Celsius Network Europe                                   October‐21                   $1,735,227.24         $3,711,118.28     $        1,975,891.04
Celsius Network Limited           Celsius Network Europe                                   November‐21                  $3,711,118.28         $3,711,118.28     $                 ‐
Celsius Network Limited           Celsius Network Europe                                   December‐21                  $3,711,118.28         $5,379,853.90     $        1,668,735.62
Celsius Network Limited           Celsius Network Europe                                   January‐22                   $5,379,853.90         $5,379,853.90     $                 ‐
Celsius Network Limited           Celsius Network Europe                                   February‐22                  $5,379,853.90         $5,379,853.90     $                 ‐
Celsius Network Limited           Celsius Network Europe                                   March‐22                     $5,379,853.90         $7,497,291.41     $        2,117,437.51
Celsius Network Limited           Celsius Network Europe                                   April‐22                     $7,497,291.41         $7,497,291.41     $                 ‐
Celsius Network Limited           Celsius Network Europe                                   May‐22                       $7,497,291.41         $4,692,612.36     $       (2,804,679.05)
Celsius Network Limited           Celsius Network Europe                                   June‐22                      $4,692,612.36         $4,692,612.36     $                 ‐
Celsius Network Limited           Celsius Network Europe                                   7/13/2022                    $4,692,612.36        $11,692,612.36     $        7,000,000.00
Celsius Network Limited           Celsius (AUS) Pty Ltd                                    June‐21                                               $97,757.94     $           97,757.94
Celsius Network Limited           Celsius (AUS) Pty Ltd                                    July‐21                         $97,757.94          $117,413.02      $           19,655.08
Celsius Network Limited           Celsius (AUS) Pty Ltd                                    August‐21                      $117,413.02          $142,380.91      $           24,967.89
Celsius Network Limited           Celsius (AUS) Pty Ltd                                    September‐21                   $142,380.91          $172,410.46      $           30,029.55
Celsius Network Limited           Celsius (AUS) Pty Ltd                                    October‐21                     $172,410.46          $218,686.73      $           46,276.27
Celsius Network Limited           Celsius (AUS) Pty Ltd                                    November‐21                    $218,686.73          $244,783.62      $           26,096.89
Celsius Network Limited           Celsius (AUS) Pty Ltd                                    December‐21                    $244,783.62            $19,592.99     $         (225,190.63)
Celsius Network Limited           Celsius (AUS) Pty Ltd                                    January‐22                      $19,592.99          $121,089.09      $          101,496.10
Celsius Network Limited           Celsius (AUS) Pty Ltd                                    February‐22                    $121,089.09          $249,570.20      $          128,481.11
Celsius Network Limited           Celsius (AUS) Pty Ltd                                    March‐22                       $249,570.20            $31,976.26     $         (217,593.94)
Celsius Network Limited           Celsius (AUS) Pty Ltd                                    April‐22                        $31,976.26            $37,087.65     $            5,111.39
Celsius Network Limited           Celsius (AUS) Pty Ltd                                    May‐22                          $37,087.65            $41,809.38     $            4,721.73
Celsius Network Limited           Celsius (AUS) Pty Ltd                                    June‐22                         $41,809.38            $46,681.06     $            4,871.68
Celsius Network Limited           Celsius (AUS) Pty Ltd                                    7/13/2022                       $46,681.06            $51,324.17     $            4,643.11




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Debtor Name: Celsius Network Limited                                                                                                                            Case Number: 22‐10966
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                          Part 2, Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider


                                                                                                                                                                 Net Monthly Activity
               Debtor                                   Trading Partner                             Month          Beginning Balance      Ending Balance        Receivable / (Payable)
Celsius Network Limited           Celsius Network (Gibraltar) Ltd.                          June‐21                                                     $0.00     $                 ‐
Celsius Network Limited           Celsius Network (Gibraltar) Ltd.                          July‐21                              $0.00                  $0.00     $                 ‐
Celsius Network Limited           Celsius Network (Gibraltar) Ltd.                          August‐21                            $0.00                  $0.00     $                 ‐
Celsius Network Limited           Celsius Network (Gibraltar) Ltd.                          September‐21                         $0.00              $3,578.25     $            3,578.25
Celsius Network Limited           Celsius Network (Gibraltar) Ltd.                          October‐21                       $3,578.25              $3,578.25     $                 ‐
Celsius Network Limited           Celsius Network (Gibraltar) Ltd.                          November‐21                      $3,578.25              $3,674.64     $               96.39
Celsius Network Limited           Celsius Network (Gibraltar) Ltd.                          December‐21                      $3,674.64             $27,546.42     $           23,871.78
Celsius Network Limited           Celsius Network (Gibraltar) Ltd.                          January‐22                      $27,546.42             $29,981.90     $            2,435.48
Celsius Network Limited           Celsius Network (Gibraltar) Ltd.                          February‐22                     $29,981.90             $29,981.90     $                 ‐
Celsius Network Limited           Celsius Network (Gibraltar) Ltd.                          March‐22                        $29,981.90             $41,998.51     $           12,016.61
Celsius Network Limited           Celsius Network (Gibraltar) Ltd.                          April‐22                        $41,998.51             $48,056.76     $            6,058.25
Celsius Network Limited           Celsius Network (Gibraltar) Ltd.                          May‐22                          $48,056.76             $48,056.76     $                 ‐
Celsius Network Limited           Celsius Network (Gibraltar) Ltd.                          June‐22                         $48,056.76             $48,056.76     $                 ‐
Celsius Network Limited           Celsius Network (Gibraltar) Ltd.                          7/13/2022                       $48,056.76             $48,056.76     $                 ‐
Celsius Network Limited           Celsius Network LLC                                       June‐21                                                     $0.00     $                 ‐
Celsius Network Limited           Celsius Network LLC                                       July‐21                               $0.00    ‐$7,786,873,683.00     $   (7,786,873,683.00)
Celsius Network Limited           Celsius Network LLC                                       August‐21                ‐$7,786,873,683.00   ‐$10,252,194,036.69     $   (2,465,320,353.69)
Celsius Network Limited           Celsius Network LLC                                       September‐21            ‐$10,252,194,036.69   ‐$10,179,722,080.70     $       72,471,955.99
Celsius Network Limited           Celsius Network LLC                                       October‐21              ‐$10,179,722,080.70    ‐$8,256,295,334.76     $    1,923,426,745.94
Celsius Network Limited           Celsius Network LLC                                       November‐21              ‐$8,256,295,334.76    ‐$8,409,766,529.97     $     (153,471,195.21)
Celsius Network Limited           Celsius Network LLC                                       December‐21              ‐$8,409,766,529.97    ‐$9,136,944,505.26     $     (727,177,975.29)
Celsius Network Limited           Celsius Network LLC                                       January‐22               ‐$9,136,944,505.26    ‐$9,129,966,525.70     $        6,977,979.56
Celsius Network Limited           Celsius Network LLC                                       February‐22              ‐$9,129,966,525.70    ‐$9,124,714,771.46     $        5,251,754.24
Celsius Network Limited           Celsius Network LLC                                       March‐22                 ‐$9,124,714,771.46    ‐$9,113,186,304.80     $       11,528,466.66
Celsius Network Limited           Celsius Network LLC                                       April‐22                 ‐$9,113,186,304.80    ‐$9,104,659,525.18     $        8,526,779.62
Celsius Network Limited           Celsius Network LLC                                       May‐22                   ‐$9,104,659,525.18    ‐$9,107,330,836.32     $       (2,671,311.14)
Celsius Network Limited           Celsius Network LLC                                       June‐22                  ‐$9,107,330,836.32    ‐$9,108,803,365.39     $       (1,472,529.07)
Celsius Network Limited           Celsius Network LLC                                       7/13/2022                ‐$9,108,803,365.39    ‐$9,093,663,742.78     $       15,139,622.61
Celsius Network Limited           Celsius EU UAB (Lithuania)                                June‐21                                                     $0.00     $                 ‐
Celsius Network Limited           Celsius EU UAB (Lithuania)                                July‐21                               $0.00                 $0.00     $                 ‐
Celsius Network Limited           Celsius EU UAB (Lithuania)                                August‐21                             $0.00        ‐$6,863,637.15     $       (6,863,637.15)
Celsius Network Limited           Celsius EU UAB (Lithuania)                                September‐21                 ‐$6,863,637.15        ‐$6,873,804.79     $          (10,167.64)
Celsius Network Limited           Celsius EU UAB (Lithuania)                                October‐21                   ‐$6,873,804.79        $64,529,551.78     $       71,403,356.57
Celsius Network Limited           Celsius EU UAB (Lithuania)                                November‐21                  $64,529,551.78        $74,753,513.86     $       10,223,962.08
Celsius Network Limited           Celsius EU UAB (Lithuania)                                December‐21                  $74,753,513.86      ‐$131,999,240.79     $     (206,752,754.65)
Celsius Network Limited           Celsius EU UAB (Lithuania)                                January‐22                 ‐$131,999,240.79      ‐$131,776,562.99     $          222,677.80
Celsius Network Limited           Celsius EU UAB (Lithuania)                                February‐22                ‐$131,776,562.99      ‐$131,089,160.19     $          687,402.80
Celsius Network Limited           Celsius EU UAB (Lithuania)                                March‐22                   ‐$131,089,160.19      ‐$128,564,484.78     $        2,524,675.41
Celsius Network Limited           Celsius EU UAB (Lithuania)                                April‐22                   ‐$128,564,484.78      ‐$128,355,349.44     $          209,135.34
Celsius Network Limited           Celsius EU UAB (Lithuania)                                May‐22                     ‐$128,355,349.44      ‐$128,534,163.81     $         (178,814.37)
Celsius Network Limited           Celsius EU UAB (Lithuania)                                June‐22                    ‐$128,534,163.81      ‐$128,578,023.81     $          (43,860.00)
Celsius Network Limited           Celsius EU UAB (Lithuania)                                7/13/2022                  ‐$128,578,023.81      ‐$128,578,023.32     $                0.49
Celsius Network Limited           Celsius US Holding LLC                                    June‐21                                                     $0.00     $                 ‐
Celsius Network Limited           Celsius US Holding LLC                                    July‐21                              $0.00                  $0.00     $                 ‐
Celsius Network Limited           Celsius US Holding LLC                                    August‐21                            $0.00                  $0.00     $                 ‐
Celsius Network Limited           Celsius US Holding LLC                                    September‐21                         $0.00                  $0.00     $                 ‐
Celsius Network Limited           Celsius US Holding LLC                                    October‐21                           $0.00        $109,160,712.53     $      109,160,712.53
Celsius Network Limited           Celsius US Holding LLC                                    November‐21                $109,160,712.53        $109,160,712.53     $                 ‐
Celsius Network Limited           Celsius US Holding LLC                                    December‐21                $109,160,712.53        $112,432,528.32     $        3,271,815.79
Celsius Network Limited           Celsius US Holding LLC                                    January‐22                 $112,432,528.32        $113,015,293.39     $          582,765.07
Celsius Network Limited           Celsius US Holding LLC                                    February‐22                $113,015,293.39        $114,057,353.04     $        1,042,059.65
Celsius Network Limited           Celsius US Holding LLC                                    March‐22                   $114,057,353.04        $115,221,682.39     $        1,164,329.35
Celsius Network Limited           Celsius US Holding LLC                                    April‐22                   $115,221,682.39        $115,804,516.55     $          582,834.16
Celsius Network Limited           Celsius US Holding LLC                                    May‐22                     $115,804,516.55        $118,316,787.62     $        2,512,271.07
Celsius Network Limited           Celsius US Holding LLC                                    June‐22                    $118,316,787.62        $119,491,046.93     $        1,174,259.31
Celsius Network Limited           Celsius US Holding LLC                                    7/13/2022                  $119,491,046.93        $118,921,147.15     $         (569,899.78)




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Debtor Name: Celsius Network Limited                                                                                                                           Case Number: 22‐10966
                                                      Statement of Financial Affairs for Non‐Individuals Filing for Bankruptcy

                          Part 2, Question 4: Payments or other transfers of property made within 1 year before filing this case that benefited any insider


                                                                                                                                                                Net Monthly Activity
               Debtor                                 Trading Partner                             Month          Beginning Balance       Ending Balance        Receivable / (Payable)
Celsius Network Limited           Celsius KeyFi LLC                                        June‐21                                            ‐$4,632,245.00     $       (4,632,245.00)
Celsius Network Limited           Celsius KeyFi LLC                                        July‐21                     ‐$4,632,245.00         ‐$4,632,245.00     $                 ‐
Celsius Network Limited           Celsius KeyFi LLC                                        August‐21                   ‐$4,632,245.00         ‐$4,632,245.00     $                 ‐
Celsius Network Limited           Celsius KeyFi LLC                                        September‐21                ‐$4,632,245.00         ‐$4,632,245.00     $                 ‐
Celsius Network Limited           Celsius KeyFi LLC                                        October‐21                  ‐$4,632,245.00         ‐$4,632,245.00     $                 ‐
Celsius Network Limited           Celsius KeyFi LLC                                        November‐21                 ‐$4,632,245.00         ‐$4,632,245.00     $                 ‐
Celsius Network Limited           Celsius KeyFi LLC                                        December‐21                 ‐$4,632,245.00         ‐$4,632,245.00     $                 ‐
Celsius Network Limited           Celsius KeyFi LLC                                        January‐22                  ‐$4,632,245.00         ‐$4,632,245.00     $                 ‐
Celsius Network Limited           Celsius KeyFi LLC                                        February‐22                 ‐$4,632,245.00         ‐$4,632,245.00     $                 ‐
Celsius Network Limited           Celsius KeyFi LLC                                        March‐22                    ‐$4,632,245.00         ‐$4,632,245.00     $                 ‐
Celsius Network Limited           Celsius KeyFi LLC                                        April‐22                    ‐$4,632,245.00         ‐$4,632,245.00     $                 ‐
Celsius Network Limited           Celsius KeyFi LLC                                        May‐22                      ‐$4,632,245.00         ‐$4,632,245.00     $                 ‐
Celsius Network Limited           Celsius KeyFi LLC                                        June‐22                     ‐$4,632,245.00         ‐$4,632,245.00     $                 ‐
Celsius Network Limited           Celsius KeyFi LLC                                        7/13/2022                   ‐$4,632,245.00         ‐$4,632,244.52     $                0.48




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                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


                                                                    SOFA Question 6: Setoffs



Creditor Name and Address                Description of Action                       Last 4           Dates               Amount


PHAROS USD FUND SP                       BTC collateral liquidated by                N/A              07/12/2022                              $32,899,397
PHAROS FUND SP                           Pharos to pay down loan
LANDMARK SQUARE, 1ST FLOOR
64 EARTH CLOSE
PO BOX 715
GRAND CAYMAN, KY-1107
CAYMAN ISLANDS
TETHER INTERNATIONAL LIMITED             BTC collateral liquidated by Tether         N/A              06/13/2022                            $816,822,948
TRINITY CHAMBERS, ROAD TOWN              to pay down loan
TORTOLA, VG1110
VIRGIN ISLANDS




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                                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


                             SOFA Question 7: Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



Case Title                           Case Number               Nature of Case                                   Court Name and Address                    Status



BVIHC(COM)2022/0119 - In             BVI Company No.            Arbitration                                     UNKNOWN                                   Pending
Matter of Insolvency Act 2003        1710531
and In the Matter of Three
Arrows Capital Ltd (in
Liquidation)

Celsius et al v. Dept of             2022-07-07                 Regulatory Agency Inquiry or Action             DEPARTMENT OF FINANCE OF                  Pending
Finance of the State of Idaho                                                                                   THE STATE OF IDAHO
                                                                                                                P.O. BOX 83720
                                                                                                                BOISE, ID 83720-0031

Celsius Network Canada               N/A                        Regulatory Agency Inquiry or Action             FINANCIAL AND CONSUMER                    Pending
[MT-MTDOCS.FID3680291]                                                                                          AFFAIRS AUTHORITY OF
                                                                                                                SASKATCHEWAN
                                                                                                                SUITE 601, 1919
                                                                                                                SASKATCHEWAN DRIVE
                                                                                                                REGINA, SK S4P 4H2
                                                                                                                CANADA

Certain Trading Activities           B9486                      Regulatory Agency Inquiry or Action             COMMODITY FUTURES                         Pending
Involving TerraUSD (UST) /                                                                                      TRADING COMMISSION
LUNA Digital Assets                                                                                             RALPH METCALFE FEDERAL
                                                                                                                OFFICE BUILDING
                                                                                                                77 WEST JACKSON BLVD
                                                                                                                SUITE 800
                                                                                                                CHICAGO, IL 60604

Dr. Rudy Audit vs. Celcius           J7QZ66Z4                   Breach of Contract                              COUNTY COURT BUSINESS                     Concluded
Network                                                                                                         CENTRE
                                                                                                                ST KATHARINE'S HOUSE
                                                                                                                21-27 ST KATHARINE'S STREET
                                                                                                                NORTHAMPTON, NN1 2LH
                                                                                                                UNITED KINGDOM

Grand Jury Subpoena to               Ref No. 2022R00253         Regulatory Agency Inquiry or Action             UNITED STATES DISTRICT                    Pending
Celsius Network Ltd.                                                                                            COURT SOUTHERN DISTRICT
                                                                                                                OF NEW YORK
                                                                                                                FEDERAL BUILDING AND
                                                                                                                UNITED STATES COURTHOUSE
                                                                                                                300 QUARROPAS ST.
                                                                                                                WHITE PLAINS, NY 10601

Grand Jury Subpoena to               Ref No. 2022R00253         Regulatory Agency Inquiry or Action             UNITED STATES DISTRICT                    Pending
Celsius Network Ltd., dated                                                                                     COURT SOUTHERN DISTRICT
June 15, 2022                                                                                                   OF NEW YORK
Ref No. 2022R00253                                                                                              FEDERAL BUILDING AND
                                                                                                                UNITED STATES COURTHOUSE
                                                                                                                300 QUARROPAS ST.
                                                                                                                WHITE PLAINS, NY 10601

In re: Celsius Network Inc.,         Docket No. 22-021-S        Regulatory Agency Inquiry or Action             STATE OF VERMONT                          Pending
Celsius Network Limited, et                                                                                     DEPARTMENT OF FINANCIAL
al.,                                                                                                            REGULATION
                                                                                                                89 MAIN STREET
                                                                                                                MONTPELIER, VT 5620

In the Matter of an Application      TBD                        Other                                           THE SUPREME COURT OF                      Pending
Pursuant to Section 208 of                                                                                      SEYCHELLES
the International Business                                                                                      PALAIS DE JUSTICE
Companies Act 2016 and                                                                                          ILE DU PORT
the Matter of Liquidity                                                                                         PO BOX 57
Technologies Ltd                                                                                                MAHE,
                                                                                                                SEYCHELLES




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                                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


                           SOFA Question 7: Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



Case Title                         Case Number               Nature of Case                                   Court Name and Address                    Status



In the Matter of Celsius           Docket No.                 Regulatory Agency Inquiry or Action             COMMONWEALTH OF                           Pending
Network LLC                        E-2022-0059                                                                MASSACHUSETTS SECURITIES
                                                                                                              DIVISION
                                                                                                              ATTN: MAXWELL T. ROBIDOUX,
                                                                                                              ESQ. & WILLIAM FRANCIS
                                                                                                              GALVIN
                                                                                                              ONE ASHBURTON PLACE
                                                                                                              17TH FLOOR
                                                                                                              BOSTON, MA 02108

In the Matter of Certain           HO-14301                   Regulatory Agency Inquiry or Action             UNITED STATES SECURITIES                  Pending
Digital Asset Lending                                                                                         AND EXCHANGE COMMISSION -
Platforms, HO-14301                                                                                           DIVISION OF ENFORCEMENT
                                                                                                              100 F STREET, NE
                                                                                                              WASHINGTON, DC 20549

In the Matter of Certain           C0352                      Regulatory Agency Inquiry or Action             COMMODITY FUTURES                         Pending
Persons Engaged In Fraud                                                                                      TRADING COMMISSION
And Other Unlawful Conduct                                                                                    THREE LAFAYETTE CENTRE
With Respect to Digital Asset                                                                                 1155 21ST STREET, NW
Transactions (C0352)                                                                                          WASHINGTON, DC 20581

In the matter of Determining       Order No.                  Regulatory Agency Inquiry or Action             STATE OF WASHINGTON                       Pending
Whether there has been a           S-21-3212-21-SC01                                                          DEPARTMENT OF FINANCIAL
violation of the Securities Act                                                                               INSTITUTIONS SECURITIES
of Washington by Celsius                                                                                      DIVISION
Network Inc.; Celsius                                                                                         P.O. BOX 9033
Network Limited; Celsius US                                                                                   OLYMPIA, WA 98504-1199
Holding LLC;
Celsius Network LLC; Celsius
Lending LLC

KeyFi, Inc., V. Celsius            652367/2022                Breach of Contract                              SUPREME COURT OF THE                      Pending
Network Limited And Celsius                                                                                   STATE OF NEW YORK
KeyFi                                                                                                         COUNTY OF NEW YORK
                                                                                                              NY COUNTY SUPREME COURT
                                                                                                              60 CENTRE STREET
                                                                                                              -
                                                                                                              NEW YORK, NY 10007

Mr Akshay Nayak vs. Celsius        J3QZ38Z9                   Breach of Contract                              COUNTY COURT BUSINESS                     Pending
Network Limited                                                                                               CENTRE
                                                                                                              ST KATHARINE'S HOUSE
                                                                                                              21-27 ST KATHARINE'S STREET
                                                                                                              NORTHAMPTON, NN1 2LH
                                                                                                              UNITED KINGDOM

Mr James Harris vs. Celsius        J9QZ3G30                   Breach of Contract                              COUNTY COURT BUSINESS                     Concluded
Network Limited                                                                                               CENTRE
                                                                                                              ST KATHARINE'S HOUSE
                                                                                                              21-27 ST KATHARINE'S STREET
                                                                                                              NORTHAMPTON, NN1 2LH
                                                                                                              UNITED KINGDOM

Mr Manveer Jarosz vs.              J3QZ4C61                   Breach of Contract                              COUNTY COURT BUSINESS                     Concluded
Celsius Network Limited                                                                                       CENTRE
                                                                                                              ST KATHARINE'S HOUSE
                                                                                                              21-27 ST KATHARINE'S STREET
                                                                                                              NORTHAMPTON, NN1 2LH
                                                                                                              UNITED KINGDOM

Mr Tomlinson vs Celsius            2206297/2021               Other                                           LONDON EMPLOYMENT                         Concluded
Network Limited                                                                                               TRIBUNALS
                                                                                                              GROUND FLOOR - VICTORY
                                                                                                              HOUSE
                                                                                                              30-40 KINGSWAY
                                                                                                              LONDON, WC2B 6EX
                                                                                                              UNITED KINGDOM




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                           SOFA Question 7: Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits



Case Title                         Case Number               Nature of Case                                   Court Name and Address                    Status



Peter L M Chan vs Celsius          H43YJ626                   Other                                           EDMONTON COUNTY COURT                     Pending
Network Limited                                                                                               59 FORE STREET
                                                                                                              N18 2TN
                                                                                                              LONDON, N18 2TN
                                                                                                              UNITED KINGDOM

Re: Celsius Network                N/A                        Regulatory Agency Inquiry or Action             THE ONTARIO SECURITIES                    Pending
                                                                                                              COMMISSION
                                                                                                              22ND FLOOR
                                                                                                              20 QUEEN STREET WEST
                                                                                                              TORONTO, ON M5H 3S8

Re: Celsius Network Limited;       DFI No. 54192              Regulatory Agency Inquiry or Action             STATE OF WASHINGTON                       Pending
Celsius Network LLC (DFI                                                                                      DEPARTMENT OF FINANCIAL
No. 54192)                                                                                                    INSTITUTIONS DIVISION OF
                                                                                                              CONSUMER SERVICES
                                                                                                              P.O. BOX 41200
                                                                                                              OLYMPIA, WA 98504-1200

Regulatory Agency Inquiry or       N/A                        Regulatory Agency Inquiry or Action             ALABAMA SECURITIES                        Pending
Action                                                                                                        COMMISSION
                                                                                                              445 DEXTER AVENUE
                                                                                                              SUITE 12000
                                                                                                              MONTGOMERY, AL 36104

Texas State Securities Board,      SOAH Docket No.            Regulatory Agency Inquiry or Action             TEXAS STATE SECURITIES                    Pending
Petitioner v. Celsius Network,     XXX-XX-XXXX                                                                BOARD
Inc. , Celsius Network                                                                                        ATTN: JOSEPH ROTUNDA &
Limited, Celsius US Holding,                                                                                  RACHEL ANDERSON RYNDERS
LLC, Celsius Network, LLC,                                                                                    ENFORCEMENT DIVISION
and Celsius Lending, LLC                                                                                      208 E 10TH ST
                                                                                                              5TH FLOOR
                                                                                                              AUSTIN, TX 78701-2407

Unbound Security Inc. vs           653421/2021                Breach of Contract                              SUPREME COURT OF THE                      Concluded
Celsius KeyFi, Celsius                                                                                        STATE OF NEW YORK
Network Limited, Jason                                                                                        COUNTY OF NEW YORK
Stone                                                                                                         NY COUNTY SUPREME COURT
                                                                                                              60 CENTRE STREET
                                                                                                              -
                                                                                                              NEW YORK, NY 10007

Uno Gomes Cerqueira vs             N/K                        Other                                           UNKNOWN                                   Pending
Celsius Network Limited




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Debtor Name: Celsius Network Limited                                                                                                                                          Case Number: 22‐10966


                                                                 Statement of Financial Affairs for Non‐Individuals Filing for Bankruptcy

                                                   Part 5, Question 10: All losses from fire, theft, or other casualty within 1 year before filing this case




           Debtor                    Description of Property Loss and How the Loss Occurred                 Amount of Payments Received For Loss               Date of Loss      Value of Property Lost

                              An external asset manager, Into The Block (ITB), incurred a loss of ~90
                              BTC as the result of an automatic disassembly of the position that was
  Celsius Network Limited      triggered when the relevant Curve pool (amWBTC on Curve Polygon)                                                                January 2022     Estimated at $3,800,000
                                   got out of balance and caused ITB to close the position under
                                                      unfavorable conditions.




Note: An issue related to lost keys on StakeHound/Fireblocks platforms occurred outside of the one year lookback period and is not included in this response.
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                                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


                                                             SOFA Question 11: Payments related to bankruptcy



 Creditor Name and Address             Email or website         Who made payment?         Description of Property         Date                Amount



AKIN GUMP STRAUSS HAUER &              https://www.akingu                                 N/A                             06/14/2022          $1,000,000.00
FELD LLP                               mp.com/en/
ONE BRYANT PARK
NEW YORK, NY 10036-6745

AKIN GUMP STRAUSS HAUER &              https://www.akingu                                 N/A                             06/24/2022          $850,000.00
FELD LLP                               mp.com/en/
ONE BRYANT PARK
NEW YORK, NY 10036-6745

AKIN GUMP STRAUSS HAUER &              https://www.akingu                                 N/A                             07/06/2022          $250,000.00
FELD LLP                               mp.com/en/
ONE BRYANT PARK
NEW YORK, NY 10036-6745

AKIN GUMP STRAUSS HAUER &              https://www.akingu                                 N/A                             07/12/2022          $150,000.00
FELD LLP                               mp.com/en/
ONE BRYANT PARK
NEW YORK, NY 10036-6745

ALVAREZ AND MARSAL NORTH               https://www.alvarez                                N/A                             06/21/2022          $1,000,000.00
AMERICA, LLC                           andmarsal.com/
600 MADISON AVENUE
8TH FLOOR
NEW YORK, NY 10022

ALVAREZ AND MARSAL NORTH               https://www.alvarez                                N/A                             06/24/2022          $950,000.00
AMERICA, LLC                           andmarsal.com/
600 MADISON AVENUE
8TH FLOOR
NEW YORK, NY 10022

ALVAREZ AND MARSAL NORTH               https://www.alvarez                                N/A                             07/06/2022          $650,000.00
AMERICA, LLC                           andmarsal.com/
600 MADISON AVENUE
8TH FLOOR
NEW YORK, NY 10022

ALVAREZ AND MARSAL NORTH               https://www.alvarez                                N/A                             07/11/2022          $600,000.00
AMERICA, LLC                           andmarsal.com/
600 MADISON AVENUE
8TH FLOOR
NEW YORK, NY 10022

ALVAREZ AND MARSAL NORTH               https://www.alvarez                                N/A                             07/12/2022          $200,000.00
AMERICA, LLC                           andmarsal.com/
600 MADISON AVENUE
8TH FLOOR
NEW YORK, NY 10022

COLE SCHOTZ P.C                        https://www.colesch                                N/A                             06/24/2022          $150,000.00
1325 AVENUE OF THE                     otz.com/
AMERICAS
19TH FLOOR
NEW YORK, NY 10019

EY                                     https://www.ey.com/                                N/A                             05/12/2022          $33,041.00
401 9TH AVE                            en_us
NEW YORK, NY 10001

EY                                     https://www.ey.com/                                N/A                             06/27/2022          $52,384.00
401 9TH AVE                            en_us
NEW YORK, NY 10001

KIRKLAND & ELLIS LLP                   https://www.kirkland                               N/A                             06/30/2022          $1,000,000.00
300 NORTH LASALLE STREET               .com/
CHICAGO, IL 60654

KIRKLAND & ELLIS LLP                   https://www.kirkland                               N/A                             07/08/2022          $1,500,000.00
300 NORTH LASALLE STREET               .com/
CHICAGO, IL 60654


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                                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


                                                              SOFA Question 11: Payments related to bankruptcy



 Creditor Name and Address             Email or website          Who made payment?         Description of Property         Date                Amount



KIRKLAND & ELLIS LLP                   https://www.kirkland                                N/A                             07/11/2022          $1,000,000.00
300 NORTH LASALLE STREET               .com/
CHICAGO, IL 60654

STRETTO, INC.                          https://www.stretto.                                N/A                             06/24/2022          $50,000.00
410 EXCHANGE                           com/
STE. 100
IRVINE, CA 92602

STRETTO, INC.                          https://www.stretto.                                N/A                             07/11/2022          $25,000.00
410 EXCHANGE                           com/
STE. 100
IRVINE, CA 92602

WILLIS TOWERS WATSON                   https://www.wtwco.c                                 N/A                             06/28/2022          $75,000.00
800 N GLEBE RD                         om/en-US
STE 1000
ARLINGTON, VA 22203-2150




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Debtor Name: Celsius Network Limited                                                                                                     Case Number: 22‐10966


                                             Statement of Financial Affairs for Non‐Individuals Filing for Bankruptcy

                            Part 8, Question 16: Does the debtor collect and retain personally identifiable information of customers?




          Debtor                                Nature of the Information Collected and Retained                         Does the Debtor have a Privacy Policy?



                             Accredited Investor Statements, Address, Appsflyer ID, Country of Citizenship, Country of
                             Residency, Date of Birth, Device ID, Device Operating System, Device Type, Email Address,
  Celsius Network Limited    Gender, Governmental Photographic ID, IDFA/AAID, IP Address, Location of Device, Name,                       Yes
                             Proof of Address Documents, Social Login Credentials, SSN, Telephone Number, Videos of
                                                               Users (Authorizations)




Note: The Debtors may not have every type of information listed above for each user.
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                                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


                                                                      SOFA Question 18: Closed financial accounts



Creditor's Name and Address     Creditor's Last 4 digits      Type of account            Date account was closed      Last Balance before           Other type of account
                                of account number                                        sold moved or transferred    closing or transfer           description

BINANCE                         3842                          Brokerage                  08/21/2021                                         $0.00
20 W 34TH STREET
NEW YORK, NY 10001

DELTEC BANK & TRUST LTD.        1616                          Other                      02/08/2022                                  $96,678.28     Operating
DELTEC HOUSE, LYFORD
CAY, P.O. BOX N-3229
NASSAU, BAHAMAS

METROPOLITAN                    0424                          Other                      02/10/2022                                  $19,895.00     Operating
COMMERCIAL BANK
1270 LEXINGTON AVE
NEW YORK, NY 10028

SEBA BANK                       1002                          Other                      02/07/2022                                         $0.00   Operating
KOLINPL. 15
ZUG, 6300, SWITZERLAND




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                                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


                                        SOFA Question 25: Other businesses in which the debtor has or has had an interest



Business Name and Address                       Nature of Business Operation                  EIN                            Existed From    Existed To


CELSIUS (AUS) PTY LTD. (AUSTRALIA)              Dormant Company                                                              12/08/2020      Present
LEVEL 33
264 GEORGE STREET
NSW
SYDNEY, 2000
AUSTRALIA
CELSIUS EU UAB (LITHUANIA)                      Customer Facing for User Transfers                                           07/02/2021      Present
GEDIMINO PR. 20
VILNIUS, 01103
LITHUANIA
CELSIUS NETWORK (GIBRALTAR) LIMITED             Dormant Company                                                              07/30/2021      Present
MIDTOWN
QUEENSWAY
GIBRALTAR, GX11 1AA
UNITED KINGDOM
CELSIUS NETWORK EUROPE D.O.O.                   R&D and Customer Support Services                                            04/23/2021      Present
BEOGRAD (SERBIA)                                Company
CARA DUSANA 51
BEOGRAD, 105007
MONTENEGRO (SERBIA-MONTENEGRO)
CELSIUS NETWORK IL LTD. (ISRAEL)                R&D, Security, Customer Support and           XX-XXXXXXX                     03/18/2018      Present
156 MENACHEM BEGIN ROAD                         Administrative Services Company
H RECITAL BUILDING
10TH FLOOR
TEL AVIV, 6492108
ISRAEL
CELSIUS SERVICES CY LTD (CYPRUS)                Customer Support and Administrative                                          01/25/2021      Present
ANEXARTISIAS 34                                 Services Company
6TH FLOOR
NORA COURT
LIMASSOL, 3040
CYPRUS
CELSIUS US HOLDING LLC                          Holding Company                               XX-XXXXXXX                     10/05/2020      Present
121 RIVER STREET
PH05
HOBOKEN, NJ 07030




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                                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


                SOFA Question 26a: List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.



Name and Address                                                                                                     From                         To


BOLGER, ROD                                                                                                          02/14/2022                   07/11/2022
ADDRESS REDACTED
CONDIT, BRAD                                                                                                         10/01/2020                   12/01/2021
THE HARLEY BUILDING
77-79 NEW CAVENDISH STREET
LONDON, W1E 6XB UNITED KINGDOM
FERRARO, CHRISTOPHER                                                                                                 03/21/2022                   Present
THE HARLEY BUILDING
77-79 NEW CAVENDISH STREET
LONDON, W1E 6XB UNITED KINGDOM
SEETHARAMAN, ASWAN                                                                                                   04/19/2022                   Present
THE HARLEY BUILDING
77-79 NEW CAVENDISH STREET
LONDON, W1E 6XB UNITED KINGDOM
SHALEM, YARON                                                                                                        02/17/2021                   02/14/2022
ADDRESS REDACTED
URATA-THOMPSON, HARUMI                                                                                               07/13/2020                   02/17/2021
ADDRESS REDACTED
YARWOOD, DARREN                                                                                                      07/13/2020                   Present
THE HARLEY BUILDING
77-79 NEW CAVENDISH STREET
LONDON, W1E 6XB UNITED KINGDOM




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                                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


            SOFA Question 26b: List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
                                                                statement within 2 years before filing this case.


Name and Address                                                                                                      From                         To


HAINES WATTS LONDON LLP                                                                                               06/27/2022                   Present
NEW DERWENT HOUSE, 69-73 THEOBALDS ROAD
LONDON, WC1X 8TA UNITED KINGDOM
MAZARS LLP                                                                                                            07/13/2020                   Present
TOWER BRIDGE HOUSE, ST KATHARINE’S WAY
LONDON, E1W 1DD UNITED KINGDOM
NYMAN LIBSON PAUL, LLP                                                                                                07/13/2020                   01/01/2022
124 FINCHLEY ROAD
LONDON, NW3 5JS UNITED KINGDOM




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                                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


                    SOFA Question 26c: Firms or individuals who were in possession of the debtor's books of account and records when this case is filed.



Name and Address                                                                                                   If unavailable, why?


FERRARO, CHRISTOPHER
THE HARLEY BUILDING
77-79 NEW CAVENDISH STREET
LONDON, W1E 6XB UNITED KINGDOM
HAINES WATTS LONDON LLP
NEW DERWENT HOUSE, 69-73 THEOBALDS ROAD
LONDON, WC1X 8TA UNITED KINGDOM
MAZARS LLP
TOWER BRIDGE HOUSE, ST KATHARINE’S WAY
LONDON, E1W 1DD UNITED KINGDOM
SEETHARAMAN, ASWAN
THE HARLEY BUILDING
77-79 NEW CAVENDISH STREET
LONDON, W1E 6XB UNITED KINGDOM
YARWOOD, DARREN
THE HARLEY BUILDING
77-79 NEW CAVENDISH STREET
LONDON, W1E 6XB UNITED KINGDOM




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                                                      Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


           SOFA Question 26d: List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issues a financial
                                                                     statement within 2 years before filing this case.


 Name and Address




In the ordinary course of business the Debtors provide financial statements to certain parties, such as financial institutions, investment banks, auditors, potential
investors, vendors and financial advisors. The Debtors do not maintain complete lists to track such disclosures, and as such, the Debtors have not provided a
listing of these parties in response to this question.




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                                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


         SOFA Question 28: List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
                                                             control of the debtor at the time of the filing of this case.


Name                                           Address                                                              Position                                  % Interest


BARSE, DAVID                                   ADDRESS REDACTED                                                     INDEPENDENT DIRECTOR                                    N/A

DAVID M BARSE 2012 TRUST                       ADDRESS REDACTED                                                     SHAREHOLDER                                             0.03

BENTOV, TAL                                    THE HARLEY BUILDING                                                  VICE PRESIDENT OF LENDING                               N/A
                                               77-79 NEW CAVENDISH STREET
                                               LONDON, W1E 6XB UNITED KINGDOM
BLONSTEIN, OREN                                THE HARLEY BUILDING                                                  CHIEF COMPLIANCE OFFICER,                               N/A
                                               77-79 NEW CAVENDISH STREET                                           BSA COMPLIANCE OFFICER,
                                               LONDON, W1E 6XB UNITED KINGDOM                                       AND HEAD OF INNOVATIONS
BODNAR, GUILLERMO                              THE HARLEY BUILDING                                                  CHIEF TECHNOLOGY OFFICER                                N/A
                                               77-79 NEW CAVENDISH STREET
                                               LONDON, W1E 6XB UNITED KINGDOM
CARR, ALAN                                     ADDRESS REDACTED                                                     INDEPENDENT DIRECTOR                                    N/A

CELSIUS NETWORK INC.                           121 RIVER STREET                                                     MAJORITY SHAREHOLDER                                   64.71
                                               PH05
                                               HOBOKEN, NJ 07030
COHEN PAVON, RONI                              THE HARLEY BUILDING                                                  CHIEF REVENUE OFFICER                                   N/A
                                               77-79 NEW CAVENDISH STREET
                                               LONDON, W1E 6XB UNITED KINGDOM
DENIZKURDU, ASLIHAN                            THE HARLEY BUILDING                                                  CHIEF OPERATING OFFICER                                 N/A
                                               77-79 NEW CAVENDISH STREET
                                               LONDON, W1E 6XB UNITED KINGDOM
DEUTSCH, RON                                   THE HARLEY BUILDING                                                  GENERAL COUNSEL, HEAD OF                                N/A
                                               77-79 NEW CAVENDISH STREET                                           M&A, AND SECRETARY
                                               LONDON, W1E 6XB UNITED KINGDOM
FERRARO, CHRISTOPHER                           THE HARLEY BUILDING                                                  CHIEF FINANCIAL OFFICER                                 N/A
                                               77-79 NEW CAVENDISH STREET
                                               LONDON, W1E 6XB UNITED KINGDOM
KLEIDERMAN, SHIRAN                             THE HARLEY BUILDING                                                  CHIEF SECURITY OFFICER                                  N/A
                                               77-79 NEW CAVENDISH STREET
                                               LONDON, W1E 6XB UNITED KINGDOM
LEON, S. DANIEL                                THE HARLEY BUILDING                                                  CHIEF STRATEGY OFFICER AND                              N/A
                                               77-79 NEW CAVENDISH STREET                                           DIRECTOR
                                               LONDON, W1E 6XB UNITED KINGDOM
MASHINSKY, ALEX                                THE HARLEY BUILDING                                                  CHIEF EXECUTIVE OFFICER AND                             N/A
                                               77-79 NEW CAVENDISH STREET                                           DIRECTOR
                                               LONDON, W1E 6XB UNITED KINGDOM
RAMOS, TRUNSHEDDA                              THE HARLEY BUILDING                                                  CHIEF HUMAN RESOURCES                                   N/A
                                               77-79 NEW CAVENDISH STREET                                           OFFICER
                                               LONDON, W1E 6XB UNITED KINGDOM
SUNADA-WONG, RODNEY                            THE HARLEY BUILDING                                                  CHIEF RISK OFFICER                                      N/A
                                               77-79 NEW CAVENDISH STREET
                                               LONDON, W1E 6XB UNITED KINGDOM




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                                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


            SOFA Question 29: Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
                                     control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


Name                                   Address                                                    Position                                  Start             End



BEAUDRY, JEREMIE                       ADDRESS REDACTED                                           CHIEF COMPLIANCE OFFICER                  06/10/2019        09/08/2021

BOLGER, ROD                            ADDRESS REDACTED                                           CHIEF FINANCIAL OFFICER                   02/14/2022        07/11/2022

CHURCHER, CAMILLA                      ADDRESS REDACTED                                           HEAD OF BUSINESS                          03/02/2020        10/15/2021
                                                                                                  DEVELOPMENT
DUBEL, JOHN S.                         ADDRESS REDACTED                                           INDEPENDENT DIRECTOR                      06/21/2022        06/28/2022

GOLDSTEIN, NUKE                        ADDRESS REDACTED                                           CHIEF TECHNOLOGY OFFICER                  02/09/2018        03/21/2022

KONDURO, VIJAY                         ADDRESS REDACTED                                           CHIEF MARKETING OFFICER                   01/20/2021        07/30/2021

LANDES, ALIZA                          ADDRESS REDACTED                                           VICE PRESIDENT OF LENDING                 02/09/2018        01/14/2022

LEON, S. DANIEL                        ADDRESS REDACTED                                           CHIEF OPERATING OFFICER                   02/09/2018        01/03/2022

NADKARNI, TUSHAR                       ADDRESS REDACTED                                           CHIEF GROWTH AND PRODUCT                  10/18/2021        07/08/2022
                                                                                                  OFFICER
NATHAN, GILBERT E.                     ADDRESS REDACTED                                           INDEPENDENT DIRECTOR                      06/18/2022        06/29/2022

SHALEM, YARON                          ADDRESS REDACTED                                           CHIEF FINANCIAL OFFICER                   02/17/2021        02/14/2022

TOSI, LAWRENCE A.                      ADDRESS REDACTED                                           DIRECTOR                                  12/03/2021        06/22/2022

URATA-THOMPSON, HARUMI                 ADDRESS REDACTED                                           CHIEF INVESTMENT OFFICER                  02/12/2020        09/01/2021

VAN ETTEN, FRANK                       ADDRESS REDACTED                                           CHIEF INVESTMENT OFFICER                  09/02/2021        03/04/2022




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